B1 (Official Form 1) (1/08)

                                              United States Bankruptcy Court                                                                                Voluntary Petition
                                              Northern District of California
Name of Debtor (if individual, enter Last, First, Middle):                                         Name of Joint Debtor (Spouse) (Last, First, Middle):
        Cogentus Pharmaceuticals, Inc.
All Other Names used by the Debtor in the last 8 years                                             All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                        (include married, maiden, and trade names):
        FDBA Amplify Therapeutics, Inc.
Last four digits of Social Security or Individual-Taxpayer I.D. (ITIN)                             Last four digits of Social Security or Individual-Taxpayer I.D. (ITIN)
No./Complete EIN (if more than one, state all):                                                    No./Complete EIN (if more than one, state all):
        XX-XXXXXXX
Street Address of Debtor (No. & Street, City, and State):                                          Street Address of Joint Debtor (No. & Street, City, and State):
        1891 Page Mill Road, Suite 200
        Palo Alto, CA 94304
                                                                             ZIP CODE                                                                                        ZIP CODE
                                                                             94304-0000
County of Residence or of the Principal Place of Business:                                         County of Residence or of the Principal Place of Business:
        Santa Clara
Mailing Address of Debtor (if different from street address):                                      Mailing Address of Joint Debtor (if different from street address):
        301 Ravenswood Ave., Suite 100
        Menlo Park, CA 94025
                                                                             ZIP CODE                                                                                        ZIP CODE
                                                                             94025-0000
Location of Principal Assets of Business Debtor (if different from street address above):
              Type of Debtor                                     Nature of Business                                           Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                     (Check one box.)                                        the Petition is Filed (Check one box)
                  (Check one box.)
                                                              Health Care Business
                                                              Single Asset Real Estate as defined in 11             Chapter 7
                                                              U.S.C. § 101(51B)                                     Chapter 9                             Chapter 15 Petition for Recognition of a
    Individual (includes Joint Debtors)
                                                              Railroad                                                                                    Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                           Chapter 11
                                                              Stockbroker                                                                                 Chapter 15 Petition for Recognition of a
    Corporation (includes LLC and LLP)                                                                              Chapter 12
                                                              Commodity Broker                                                                            Foreign Nonmain Proceeding
                                                                                                                    Chapter 13
    Partnership                                               Clearing Bank
    Other (If debtor is not one of the above entities,        Other                                                                            Nature of Debts
    check this box and state type of entity below.)                                                                                              (Check one box)
                                                                       Tax-Exempt Entity                            Debts are primarily consumer debts,                   Debts are primarily
                                                                      (Check box, if applicable.)                   defined in 11 U.S.C. § 101(8) as                      business debts.
                                                              Debtor is a tax-exempt organization under Title       "incurred by an individual primarily for
                                                               26 of the United States Code (the Internal           a personal, family, or household purpose."
                                                               Revenue Code).
                                Filing Fee (Check one box.)                                                                            Chapter 11 Debtors
    Full Filing Fee attached                                                                       Check one box:
                                                                                                         Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (Applicable to individuals only) Must attach signed            Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    application for the court's consideration certifying that the debtor is unable to pay fee      Check if:
    except in installments. Rule 1006(b). See Official Form 3A.                                          Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or
                                                                                                   affiliates) are less than $2,190,000
    Filing Fee waiver requested (Applicable to chapter 7 individuals only). Must attach            Check all applicable boxes:
    signed application for the court's consideration. See Official Form 3B.                           A plan is being filed with this petition.
                                                                                                      Acceptances of the plan were solicited prepetition from one or more classes of creditors,
                                                                                                       in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                                                       THIS SPACE IS FOR
                                                                                                                                                                             COURT USE ONLY
    Debtor estimates that funds will be available for distribution to unsecured creditors.
     Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will be no funds available for distribution to unsecured
     creditors.
Estimated Number of Creditors

 1-49              50-99          100-199          200-999          1,000-          5001-             10,001-           25,001-           50,001-           OVER
                                                                    5,000           10,000            25,000            50,000            100,000           100,000
Estimated Assets

 $0 to             $50,001 to     $100,001 to      $500,001         $1,000,001      $10,000,001       $50,000,001       $100,000,001      $500,000,001      More than
 $50,000           $100,000       $500,000         to $1            to $10          to $50            to $100           to $500           to $1 billion     $1 billion
                                                   million          million          million          million           million
Estimated Debts

 $0 to             $50,001 to     $100,001 to      $500,001         $1,000,001      $10,000,001       $50,000,001       $100,000,001      $500,000,001      More than
 $50,000           $100,000       $500,000         to $1            to $10          to $50            to $100           to $500           to $1 billion     $1 billion
                                                   million          million          million          million           million



           Case: 09-50250                       Doc# 1             Filed: 01/16/09                   Entered: 01/16/09 14:22:43                               Page 1 of 81
B1 (Official Form 1) (1/08)                                                                                                                                       Page 2
Voluntary Petition                                                                      Name of Debtor(s):
(This page must be completed and filed in every case)                                         Cogentus Pharmaceuticals, Inc.
                               All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location                                                                                Case Number:                                                Date Filed:
Where Filed:       - None -
Location                                                                                Case Number:                                                Date Filed:
Where Filed:
              Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet.)
Name of Debtor: - None -                                                                Case Number:                                                Date Filed:

District:                                                                               Relationship:                                               Judge:

                                     Exhibit A                                                                               Exhibit B
                                                                                                               (To be completed if debtor is an individual
(To be completed if debtor is required to file periodic reports (e.g., forms 10K                               whose debts are primarily consumer debts.)
and 10Q) with the Securities and Exchange Commission pursuant to Section 13             I, the attorney for the petitioner named in the foregoing petition, declare that I
or 15(d) of the Securities Exchange Act of 1934 and is requesting relief under          have informed the petitioner that [he or she] may proceed under chapter 7, 11, 12,
chapter 11.)                                                                            or 13 of title 11, United States Code, and have explained the relief available
                                                                                        under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                        required by 11 U.S.C. § 342(b).
    Exhibit A is attached and made a part of this petition.                              X
                                                                                             Signature of Attorney for Debtor(s)                 Date

                                                                                 Exhibit C
Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
    Yes, and Exhibit C is attached and made a part of this petition.
    No

                                                                                 Exhibit D
(To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
         Exhibit D completed and signed by the debtor is attached and made a part of this petition.
If this is a joint petition:
         Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                            Information Regarding the Debtor - Venue
                                                                          (Check any applicable box)
                 Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                 preceding the date of this petition or for a longer part of such 180 days than in any other District.
                 There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                 Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or
                 has no principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in
                 this District, or the interests of the parties will be served in regard to the relief sought in this District.
                                         Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                                        Check all applicable boxes.

                 Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the
                 following.)


                                    (Name of landlord that obtained judgment)

                                    (Address of landlord)

                 Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                 permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                 possession was entered, and

                 Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day
                 period after the filing of the petition.

                 Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l))..




            Case: 09-50250                 Doc# 1           Filed: 01/16/09              Entered: 01/16/09 14:22:43                            Page 2 of 81
B1 (Official Form 1) (1/08)                                                                                                                                            Page 3
Voluntary Petition                                                                     Name of Debtor(s):
(This page must be completed and filed in every case)                                     Cogentus Pharmaceuticals, Inc.
                                                                               Signatures
                 Signature(s) of Debtor(s) (Individual/Joint)                                                 Signature of a Foreign Representative
      I declare under penalty of perjury that the information provided in this
      petition is true and correct.                                                          I declare under penalty of perjury that the information provided in this
      [If petitioner is an individual whose debts are primarily consumer debts and           petition is true and correct, that I am the foreign representative of a debtor in
      has chosen to file under chapter 7] I am aware that I may proceed under                a foreign proceeding, and that I am authorized to file this petition.
      chapter 7, 11, 12 or 13 of title 11, United States Code, understand the relief         (Check only one box.)
      available under each such chapter, and choose to proceed under chapter 7.
                                                                                                 I request relief in accordance with chapter 15 of title 11, United States
      [If no attorney represents me and no bankruptcy petition preparer signs the                Code. Certified copies of the documents required by 11 U.S.C. § 1515
      petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).              are attached.
                                                                                                 Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the
                                                                                                 chapter of title 11 specified in this petition. A certified copy of the order
      I request relief in accordance with the chapter of title 11, United States
                                                                                                 granting recognition of the foreign main proceeding is attached.
      Code, specified in this petition.
  X
       Signature of Debtor                                                               X
  X                                                                                           Signature of Foreign Representative
       Signature of Joint Debtor
                                                                                              Printed Name of Foreign Representative
       Telephone Number (If not represented by attorney)
                                                                                              Date
       Date
                              Signature of Attorney*                                            Signature of Non-Attorney Bankruptcy Petition Preparer
  X    /s/ William C. Lewis
       Signature of Attorney for Debtor(s)                                             I declare under penalty of perjury that: 1) I am a bankruptcy petition preparer as
       William C. Lewis, Esq. 77193                                                    defined in 11 U.S.C. § 110; 2) I prepared this document for compensation and
       Printed Name of Attorney for Debtor(s)                                          have provided the debtor with a copy of this document and the notices and
                                                                                       information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, 3) if
       Law Offices of William C. Lewis                                                 rules or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting
       Firm Name                                                                       a maximum fee for services chargeable by bankruptcy petition preparers, I have
       510 Waverley St.                                                                given the debtor notice of the maximum amount before preparing any document
       Palo Alto, CA 94301                                                             for filing for a debtor or accepting any fee from the debtor, as required in that
       Address                                                                         section. Official form 19 is attached.
       wclewis@williamclewis.com
       650-322-3300 Fax:650-327-9720
       Telephone Number                                                                       Printed Name and title, if any, of Bankruptcy Petition Preparer
       1/16/09
       Date                                                                                  Social-Security number (If the bankruptcy petition preparer is not an individual, state
                                                                                             the Social Security number of the officer, principal, responsible person or partner of the
                                                                                             bankruptcy petition preparer.)(Required by 11 U.S.C. § 110.)
*In a case in which § 707(b)(4)(D) applies, this signature also constitutes a
certification that the attorney has no knowledge after an inquiry that the
information in the schedules is incorrect.
                                                                                             Address
               Signature of Debtor (Corporation/Partnership)                             X
I declare under penalty of perjury that the information provided in this petition is
true and correct, and that I have been authorized to file this petition on behalf of
the debtor.                                                                               Date
The debtor requests relief in accordance with the chapter of title 11, United States
Code, specified in this petition.
  X /s/ Margaret A. Horn                                                             Signature of Bankruptcy Petition Preparer or officer, principal, responsible
      Signature of Authorized Individual                                             person, or partner whose social security number is provided above.
       Margaret A. Horn
       Printed Name of Authorized Individual                                           Names and Social-Security numbers of all other individuals who prepared or
       Senior Vice President & Secretary                                               assisted in preparing this document unless the bankruptcy petition preparer is not
                                                                                       an individual
       Title of Authorized Individual
       1/16/09
       Date                                                                            If more than one person prepared this document, attach additional sheets
                                                                                       conforming to the appropriate official form for each person.

                                                                                       A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the
                                                                                       Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both 11
                                                                                       U.S.C. § 110; 18 U.S.C. § 156.




            Case: 09-50250                  Doc# 1          Filed: 01/16/09             Entered: 01/16/09 14:22:43                                  Page 3 of 81
B6 Summary (Official Form 6 - Summary) (12/07)


          }
          b
          k
          1
          {
          F
          o
          r
          m
          6
          .
          S
          u
          a
          y
          f
          c
          h
          e
          d
          l
          s




                                                                  United States Bankruptcy Court
                                                                         Northern District of California
  In re          Cogentus Pharmaceuticals, Inc.                                                                        Case No.
                                                                                                                ,
                                                                                               Debtor
                                                                                                                       Chapter                   7




                                                                       SUMMARY OF SCHEDULES
     Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A,
     B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets.
     Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors must
     also complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under chapter 7, 11, or 13.




              NAME OF SCHEDULE                             ATTACHED                NO. OF          ASSETS                 LIABILITIES             OTHER
                                                            (YES/NO)               SHEETS

A - Real Property                                                 Yes                 1                         0.00


B - Personal Property                                             Yes                 6                 2,260,348.35


C - Property Claimed as Exempt                                    No                  0


D - Creditors Holding Secured Claims                              Yes                 1                                              0.00


E - Creditors Holding Unsecured                                   Yes                 6                                              0.00
    Priority Claims (Total of Claims on Schedule E)

F - Creditors Holding Unsecured                                   Yes                 13                                    17,282,215.10
    Nonpriority Claims

G - Executory Contracts and                                       Yes                 6
   Unexpired Leases

H - Codebtors                                                     Yes                 1


I - Current Income of Individual                                  No                  0                                                                    N/A
    Debtor(s)

J - Current Expenditures of Individual                            No                  0                                                                    N/A
    Debtor(s)

   Total Number of Sheets of ALL Schedules                                            34


                                                                                Total Assets            2,260,348.35


                                                                                                 Total Liabilities          17,282,215.10




                Case: 09-50250                      Doc# 1             Filed: 01/16/09           Entered: 01/16/09 14:22:43             Page 4 of 81
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
Form 6 - Statistical Summary (12/07)


          }
          e
          b
          k
          r
          {
          t
          1
          a
          i
          F
          n
          o
          L
          m
          6
          .
          l
          S
          s
          c
          d
          R
          u
          y
          D
          f
          C




                                                                  United States Bankruptcy Court
                                                                         Northern District of California
  In re           Cogentus Pharmaceuticals, Inc.                                                               Case No.
                                                                                                           ,
                                                                                         Debtor
                                                                                                               Chapter                     7


               STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
          If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.§ 101(8)), filing
          a case under chapter 7, 11 or 13, you must report all information requested below.

                   Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to
                   report any information here.

          This information is for statistical purposes only under 28 U.S.C. § 159.
          Summarize the following types of liabilities, as reported in the Schedules, and total them.


              Type of Liability                                                                   Amount

              Domestic Support Obligations (from Schedule E)

              Taxes and Certain Other Debts Owed to Governmental Units
              (from Schedule E)
              Claims for Death or Personal Injury While Debtor Was Intoxicated
              (from Schedule E) (whether disputed or undisputed)

              Student Loan Obligations (from Schedule F)

              Domestic Support, Separation Agreement, and Divorce Decree
              Obligations Not Reported on Schedule E
              Obligations to Pension or Profit-Sharing, and Other Similar Obligations
              (from Schedule F)

                                                                                 TOTAL


              State the following:

              Average Income (from Schedule I, Line 16)


              Average Expenses (from Schedule J, Line 18)

              Current Monthly Income (from Form 22A Line 12; OR,
              Form 22B Line 11; OR, Form 22C Line 20 )


              State the following:
              1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
                  column
              2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
                  column
              3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
                  PRIORITY, IF ANY" column

              4. Total from Schedule F


              5. Total of non-priority unsecured debt (sum of 1, 3, and 4)




                 Case: 09-50250                     Doc# 1             Filed: 01/16/09     Entered: 01/16/09 14:22:43       Page 5 of 81
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                             Best Case Bankruptcy
B6A (Official Form 6A) (12/07)


          }
          b
          k
          1
          {
          S
          c
          h
          e
          d
          u
          l
          A
          -
          R
          a
          P
          r
          o
          p
          t
          y




  In re          Cogentus Pharmaceuticals, Inc.                                                                  Case No.
                                                                                                        ,
                                                                                          Debtor

                                                                 SCHEDULE A - REAL PROPERTY
        Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest, including all property owned as a
cotenant, community property, or in which the debtor has a life estate. Include any property in which the debtor holds rights and powers exercisable for
the debtor's own benefit. If the debtor is married, state whether husband, wife, both, or the marital community own the property by placing an "H," "W,"
"J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under
"Description and Location of Property."
        Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
        If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim. See Schedule D. If no entity
claims to hold a secured interest in the property, write "None" in the column labeled "Amount of Secured Claim." If the debtor is an individual or
if a joint petition is filed, state the amount of any exemption claimed in the property only in Schedule C - Property Claimed as Exempt.

                                                                                                        Husband,    Current Value of
                                                                                Nature of Debtor's       Wife,     Debtor's Interest in           Amount of
                 Description and Location of Property                           Interest in Property     Joint, or  Property, without            Secured Claim
                                                                                                       Community Deducting  any Secured
                                                                                                                   Claim or Exemption




                         None




                                                                                                        Sub-Total >               0.00          (Total of this page)

                                                                                                             Total >              0.00
  0     continuation sheets attached to the Schedule of Real Property
                                                                                                        (Report also on Summary of Schedules)
                Case: 09-50250                      Doc# 1             Filed: 01/16/09       Entered: 01/16/09 14:22:43          Page 6 of 81
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                   Best Case Bankruptcy
B6B (Official Form 6B) (12/07)


          }
          k
          b
          {
          1
          S
          c
          h
          e
          d
          u
          l
          B
          -
          P
          r
          s
          o
          n
          a
          p
          t
          y




  In re          Cogentus Pharmaceuticals, Inc.                                                                         Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
    Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in one or more of the categories, place
an "x" in the appropriate position in the column labeled "None." If additional space is needed in any category, attach a separate sheet properly identified
with the case name, case number, and the number of the category. If the debtor is married, state whether husband, wife, both, or the marital community
own the property by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a joint
petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
    Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G - Executory Contracts and
Unexpired Leases.
If the property is being held for the debtor by someone else, state that person's name and address under "Description and Location of Property."
If the property is being held for a minor child, simply state the child's initials and the name and address of the child's parent or guardian, such as
"A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

1.     Cash on hand                                          X

2.     Checking, savings or other financial                      Silicon Valley Bank, 3003 Tasman Drive, Santa                     -                        2,193.34
       accounts, certificates of deposit, or                     Clara, CA 95054
       shares in banks, savings and loan,
       thrift, building and loan, and
       homestead associations, or credit
       unions, brokerage houses, or
       cooperatives.

3.     Security deposits with public                             Security deposit (Palo Alto office space)                         -                     329,657.00
       utilities, telephone companies,                           (CFO2 Palo Alto, L.P.)
       landlords, and others.
                                                                 Security deposit (Dr. Arun's (consultant) housing)                -                        2,150.00
                                                                 (Murli Krishna)

4.     Household goods and furnishings,                      X
       including audio, video, and
       computer equipment.

5.     Books, pictures and other art                         X
       objects, antiques, stamp, coin,
       record, tape, compact disc, and
       other collections or collectibles.

6.     Wearing apparel.                                      X

7.     Furs and jewelry.                                     X

8.     Firearms and sports, photographic,                    X
       and other hobby equipment.

9.     Interests in insurance policies.                          See attachment entitled, Section 2. Part B. Type 9.               -                     540,056.53
       Name insurance company of each                            Insurance Policies
       policy and itemize surrender or
       refund value of each.

10. Annuities. Itemize and name each                         X
    issuer.




                                                                                                                                   Sub-Total >        874,056.87
                                                                                                                       (Total of this page)

  3     continuation sheets attached to the Schedule of Personal Property
                Case: 09-50250                      Doc# 1             Filed: 01/16/09       Entered: 01/16/09 14:22:43                   Page 7 of 81
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




  In re          Cogentus Pharmaceuticals, Inc.                                                                         Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

11. Interests in an education IRA as                         X
    defined in 26 U.S.C. § 530(b)(1) or
    under a qualified State tuition plan
    as defined in 26 U.S.C. § 529(b)(1).
    Give particulars. (File separately the
    record(s) of any such interest(s).
    11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh, or                       X
    other pension or profit sharing
    plans. Give particulars.

13. Stock and interests in incorporated                      X
    and unincorporated businesses.
    Itemize.

14. Interests in partnerships or joint                       X
    ventures. Itemize.

15. Government and corporate bonds                           X
    and other negotiable and
    nonnegotiable instruments.

16. Accounts receivable.                                     X

17. Alimony, maintenance, support, and                       X
    property settlements to which the
    debtor is or may be entitled. Give
    particulars.

18. Other liquidated debts owed to debtor X
    including tax refunds. Give particulars.


19. Equitable or future interests, life                      X
    estates, and rights or powers
    exercisable for the benefit of the
    debtor other than those listed in
    Schedule A - Real Property.

20. Contingent and noncontingent                             X
    interests in estate of a decedent,
    death benefit plan, life insurance
    policy, or trust.

21. Other contingent and unliquidated                        X
    claims of every nature, including
    tax refunds, counterclaims of the
    debtor, and rights to setoff claims.
    Give estimated value of each.


                                                                                                                                   Sub-Total >                  0.00
                                                                                                                       (Total of this page)

Sheet 1 of 3          continuation sheets attached
to the Schedule of Personal Property
                Case: 09-50250                      Doc# 1             Filed: 01/16/09       Entered: 01/16/09 14:22:43                   Page 8 of 81
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




  In re          Cogentus Pharmaceuticals, Inc.                                                                         Case No.
                                                                                                            ,
                                                                                           Debtor

                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                  (Continuation Sheet)

                                                             N                                                                 Husband,        Current Value of
                 Type of Property                            O                  Description and Location of Property            Wife,     Debtor's Interest in Property,
                                                             N                                                                  Joint, or   without Deducting any
                                                             E                                                                Community Secured Claim or Exemption

22. Patents, copyrights, and other                               see attachment entitled Section 2. Part B. Type 22.               -                      Unknown
    intellectual property. Give                                  Intellectual Property
    particulars.

23. Licenses, franchises, and other                              license with Murli Krishna (non binding termsheet,                -                      Unknown
    general intangibles. Give                                    dated 10/30/08)
    particulars.
                                                                 Bloomberg terminal license and service contracts                  -                      Unknown

                                                                 3 licenses (agreements dated 2/3/07, 4/11/06, and                 -                      Unknown
                                                                 11/6/06) with Pharmetrix re pharmaceutical
                                                                 database research

24. Customer lists or other compilations                     X
    containing personally identifiable
    information (as defined in 11 U.S.C.
    § 101(41A)) provided to the debtor
    by individuals in connection with
    obtaining a product or service from
    the debtor primarily for personal,
    family, or household purposes.

25. Automobiles, trucks, trailers, and                       X
    other vehicles and accessories.

26. Boats, motors, and accessories.                          X

27. Aircraft and accessories.                                X

28. Office equipment, furnishings, and                           Office furniture and equipment (net book value)                   -                     231,853.83
    supplies.
                                                                 software and supplies (net book value)                            -                        9,765.82

                                                                 computer, networking and other IT equipment (net                  -                      39,450.99
                                                                 book value)

                                                                 phone systems and projectors (net book value)                     -                      17,296.84

                                                                 printing/stationery supplies, folders, pens, binder &             -                        1,500.00
                                                                 other misc. supplies (net book value)

29. Machinery, fixtures, equipment, and                      X
    supplies used in business.

30. Inventory.                                               X

31. Animals.                                                 X




                                                                                                                                   Sub-Total >        299,867.48
                                                                                                                       (Total of this page)

Sheet 2 of 3          continuation sheets attached
to the Schedule of Personal Property
                Case: 09-50250                      Doc# 1             Filed: 01/16/09       Entered: 01/16/09 14:22:43                   Page 9 of 81
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037                                                                         Best Case Bankruptcy
B6B (Official Form 6B) (12/07) - Cont.




 In re         Cogentus Pharmaceuticals, Inc.                                                         Case No.
                                                                                          ,
                                                                         Debtor

                                          SCHEDULE B - PERSONAL PROPERTY
                                                                (Continuation Sheet)

                                            N                                                                Husband,        Current Value of
              Type of Property              O                 Description and Location of Property            Wife,     Debtor's Interest in Property,
                                            N                                                                 Joint, or   without Deducting any
                                            E                                                               Community Secured Claim or Exemption

32. Crops - growing or harvested. Give      X
    particulars.

33. Farming equipment and                   X
    implements.

34. Farm supplies, chemicals, and feed.     X

35. Other personal property of any kind         P.O. #2008-026 prepayment (Arch Pharmalabs)                       -                       3,000.00
    not already listed. Itemize.
                                                Online information research-unexpired                             -                       3,600.00
                                                subscription (Bloomberg L.P.)

                                                Online capitalization subs fee-unexpired portion                  -                          875.00
                                                (eProsper)

                                                Property Taxes Jul 08-Jun 09-prepayment balance                   -                       1,042.00
                                                (Lee Buffington, San Mateo County)

                                                Prepayment - CG104-to be offset against accounts                  -                    912,884.00
                                                payable (Paraxel)

                                                DDE Lan annual subscription - unexpired portion                   -                     11,898.00
                                                (Uppsala Monitoring Centre)

                                                Promissory note from employee (R. Gerber)                         -                       6,250.00

                                                promissory note from employee (P. LaPuerta)                       -                     34,375.00

                                                promissory note from employee (L. McBride)                        -                    112,500.00

                                                leasehold improvements                                            -                     Unknown

                                                potential breach of contract claim against investor,              -                     Unknown
                                                The Keffi Group Ltd.




                                                                                                                 Sub-Total >      1,086,424.00
                                                                                                     (Total of this page)
                                                                                                                      Total >     2,260,348.35
Sheet 3 of 3          continuation sheets attached
to the Schedule of Personal Property                                                                             (Report also on Summary of Schedules)
               Case: 09-50250            Doc# 1                           Filed: 01/16/09 Entered: 01/16/09 14:22:43      Page 10 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                          Best Case Bankruptcy
Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 11 of
                                        81
Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 12 of
                                        81
 B6D (Official Form 6D) (12/07)


           }
           e
           b
           c
           k
           u
           1
           r
           {
           S
           d
           h
           C
           l
           a
           i
           m
           s
           D
           -
           t
           o
           H
           n
           g




   In re          Cogentus Pharmaceuticals, Inc.                                                                                   Case No.
                                                                                                                      ,
                                                                                                     Debtor

                                      SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

       State the name, mailing address, including zip code, and last four digits of any account number of all entities holding claims secured by property of the debtor as of
 the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided
 if the debtor chooses to do so. List creditors holding all types of secured interests such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and
 other security interests.
       List creditors in alphabetical order to the extent practicable. If a minor child is a creditor, the child's initials and the name and address of the child's parent or
 guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). If all secured
 creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor" ,include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H", "W", "J", or "C" in the column labeled "Husband, Wife, Joint, or Community".
       If the claim is contingent, place an "X" in the column labeled "Contingent". If the claim is unliquidated, place an "X" in the column labeled "Unliquidated". If the
 claim is disputed, place an "X" in the column labeled "Disputed". (You may need to place an "X" in more than one of these three columns.)
       Total the columns labeled "Amount of Claim Without Deducting Value of Collateral" and "Unsecured Portion, if Any" in the boxes labeled "Total(s)" on the last
 sheet of the completed schedule. Report the total from the column labeled "Amount of Claim" also on the Summary of Schedules and, if the debtor is an individual with
 primarily consumer debts, report the total from the column labeled "Unsecured Portion" on the Statistical Summary of Certain Liabilities and Related Data.
       Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                C   Husband, Wife, Joint, or Community                         C    U   D     AMOUNT OF
              CREDITOR'S NAME                                   O                                                              O    N   I
                                                                D   H         DATE CLAIM WAS INCURRED,                         N    L   S        CLAIM
           AND MAILING ADDRESS                                  E                                                              T    I   P       WITHOUT      UNSECURED
            INCLUDING ZIP CODE,                                 B   W             NATURE OF LIEN, AND                          I    Q   U                    PORTION, IF
                                                                T   J           DESCRIPTION AND VALUE                          N    U   T
                                                                                                                                               DEDUCTING
           AND ACCOUNT NUMBER                                   O                                                              G    I   E       VALUE OF        ANY
             (See instructions above.)
                                                                    C                 OF PROPERTY
                                                                R
                                                                                    SUBJECT TO LIEN
                                                                                                                               E    D   D     COLLATERAL
                                                                                                                               N    A
                                                                                                                               T    T
Account No.                                                             security deposit (Palo Alto office space)                   E
                                                                                                                                    D

CF02 Palo Alto, L.P.
PO Box 201939
Dept. 93929
                                                                    -
Dallas, TX 75320-1939

                                                                         Value $                              329,657.00                         Unknown           Unknown
Account No.                                                             security deposit (may have already been
                                                                        paid)
Murli Krishna
D-98, Ranjangaon M.I.D.C., Tal-Shirur
Distpune, Pin-412 209 India
                                                                    -

                                                                         Value $                                2,150.00                         Unknown           Unknown
Account No.




                                                                         Value $
Account No.




                                                                         Value $
                                                                                                                            Subtotal
 0
_____ continuation sheets attached                                                                                                                  0.00                   0.00
                                                                                                                   (Total of this page)
                                                                                                                             Total                  0.00                   0.00
                                                                                                   (Report on Summary of Schedules)
                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                               Page 13 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
B6E (Official Form 6E) (12/07)


         }
         n
         b
         s
         k
         e
         1
         c
         {
         u
         S
         r
         h
         d
         P
         l
         i
         o
         E
         t
         -
         y
         C
         a
         m
         H
         g
         U




 In re         Cogentus Pharmaceuticals, Inc.                                                                            Case No.
                                                                                                             ,
                                                                                        Debtor

                  SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
          A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of unsecured claims entitled
    to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing address, including zip code, and last four digits of the
    account number, if any, of all entities holding priority claims against the debtor or the property of the debtor, as of the date of the filing of the petition. Use a separate
    continuation sheet for each type of priority and label each with the type of priority.
          The complete account number of any account the debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do
    so. If a minor child is a creditor, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian."
    Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
          If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
    schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
    liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the
    column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled
    "Disputed." (You may need to place an "X" in more than one of these three columns.)
          Report the total of claims listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all claims listed on this Schedule E in the box labeled
    "Total" on the last sheet of the completed schedule. Report this total also on the Summary of Schedules.
          Report the total of amounts entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts entitled to priority
    listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this total
    also on the Statistical Summary of Certain Liabilities and Related Data.
          Report the total of amounts not entitled to priority listed on each sheet in the box labeled "Subtotals" on each sheet. Report the total of all amounts not entitled to
    priority listed on this Schedule E in the box labeled "Totals" on the last sheet of the completed schedule. Individual debtors with primarily consumer debts report this
    total also on the Statistical Summary of Certain Liabilities and Related Data.

         Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

    TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
         Domestic support obligations
        Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or responsible relative
    of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in 11 U.S.C. § 507(a)(1).

         Extensions of credit in an involuntary case
        Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the appointment of a
    trustee or the order for relief. 11 U.S.C. § 507(a)(3).

         Wages, salaries, and commissions
        Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying independent sales
    representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the cessation of business, whichever
    occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

         Contributions to employee benefit plans
       Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the cessation of business,
    whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).

         Certain farmers and fishermen
         Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

         Deposits by individuals
        Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use, that were not
    delivered or provided. 11 U.S.C. § 507(a)(7).

         Taxes and certain other debts owed to governmental units
         Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

         Commitments to maintain the capital of an insured depository institution
       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors of the Federal
    Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C. § 507 (a)(9).

         Claims for death or personal injury while debtor was intoxicated
       Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
    another substance. 11 U.S.C. § 507(a)(10).




    * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of adjustment.
                                                                       5       continuation sheets attached
                Case: 09-50250                 Doc# 1                     Filed: 01/16/09 Entered: 01/16/09 14:22:43                           Page 14 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                   Best Case Bankruptcy
 B6E (Official Form 6E) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                                Case No.
                                                                                                                   ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)


                                                                                                                           Wages, salaries, and commissions
                                                                                                                                         TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                   O                                                           O    N   I                      AMOUNT NOT
                                                                D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                       N    U   T                                AMOUNT
                                                                O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                       E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No.                                                             severance agreement                                      E
                                                                                                                                 D

John Jermano
PO Box 2914                                                                                                                                                 Unknown
El Granada, CA 94018
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             severance agreement

Linda McBride
19741 Scotland Drive                                                                                                                                        Unknown
Saratoga, CA 95070
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             severance agreement

Margaret Horn
21 Tulip Lane                                                                                                                                               Unknown
San Carlos, CA 94070
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             $1,000 in backpay and severance
                                                                        agreement claim in unknown amount
Mark Goldsmith
1024 Louise Street                                                                                                                                          Unknown
Menlo Park, CA 94025
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             severance agreement

Pablo Lapuerta
757 College Avenue                                                                                                                                          Unknown
Menlo Park, CA 94025
                                                                    -

                                                                                                                                               Unknown              Unknown
       1
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)                0.00                   0.00



                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                              Page 15 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                  Best Case Bankruptcy
 B6E (Official Form 6E) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                                Case No.
                                                                                                                   ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)


                                                                                                                           Wages, salaries, and commissions
                                                                                                                                         TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                   O                                                           O    N   I                      AMOUNT NOT
                                                                D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                       N    U   T                                AMOUNT
                                                                O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                       E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No.                                                             severance agreement                                      E
                                                                                                                                 D

Ronald Gerber
3249 Jackson Street                                                                                                                                         Unknown
San Francisco, CA 94118
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.




Account No.




Account No.




Account No.




       2
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)                0.00                   0.00



                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                              Page 16 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                  Best Case Bankruptcy
 B6E (Official Form 6E) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                                Case No.
                                                                                                                   ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                            Taxes and Certain Other Debts
                                                                                                                             Owed to Governmental Units
                                                                                                                                         TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                   O                                                           O    N   I                      AMOUNT NOT
                                                                D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                       N    U   T                                AMOUNT
                                                                O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                       E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No.                                                             for notice only                                          E
                                                                                                                                 D

CA-Attorney General
1300 I Street                                                                                                                                               Unknown
Sacramento, CA 95814
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

CA-Board of Equalization
Attn: Collection Unit Mic 29                                                                                                                                Unknown
PO Box 942879
                                                                    -
Sacramento, CA 94279-0001

                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

CA-Dept of Motor Vehicles
PO Box 932382                                                                                                                                               Unknown
Sacramento, CA 94244-3820
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

CA-EDD
Bankruptcy Special Procedures                                                                                                                               Unknown
Group Mic 92-E
                                                                    -
PO Box 826900
Sacramento, CA 94280-0001
                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

CA-Franchise Tax Board
Bankruptcy Unit MS G-11                                                                                                                                     Unknown
PO Box 2952
                                                                    -
Sacramento, CA 95812-2952

                                                                                                                                               Unknown              Unknown
       3
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)                0.00                   0.00



                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                              Page 17 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                  Best Case Bankruptcy
 B6E (Official Form 6E) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                                Case No.
                                                                                                                   ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                            Taxes and Certain Other Debts
                                                                                                                             Owed to Governmental Units
                                                                                                                                         TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                      C    U   D
             CREDITOR'S NAME,                                   O                                                           O    N   I                      AMOUNT NOT
                                                                D                                                           N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                      T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                    I    Q   U
                                                                                                                                            OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                       N    U   T                                AMOUNT
                                                                O                                                           G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                       E    D   D
                                                                                                                            N    A
                                                                                                                                                                      PRIORITY
                                                                                                                            T    T
Account No.                                                             for notice only                                          E
                                                                                                                                 D

Internal Revenue Service
(San Jose Cases)                                                                                                                                            Unknown
Insolvency, MS 5420/5430
                                                                    -
55 S. Market Street
San Jose, CA 95113
                                                                                                                                               Unknown                      0.00
Account No.                                                             for notice only

Santa Clara County Assessor
70 West Hedding Street                                                                                                                                      Unknown
East Wing
                                                                    -
San Jose, CA 95110

                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

US-Attorney
650 Capital Mall #3305                                                                                                                                      Unknown
Sacramento, CA 95814
                                                                    -

                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

US-Attorney General
Dept. of Justice Tax Div                                                                                                                                    Unknown
Main Justice Building
                                                                    -
10th St. & Constitution Ave. NW
Washington, DC 20530
                                                                                                                                               Unknown              Unknown
Account No.                                                             for notice only

US-Attorney Tax Division
450 Golden Gate Ave 10th Fl                                                                                                                                 Unknown
PO Box 36055
                                                                    -
San Francisco, CA 94102

                                                                                                                                               Unknown              Unknown
       4
Sheet _____    5
            of _____  continuation sheets attached to                                                                    Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                         (Total of this page)                0.00                   0.00



                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                              Page 18 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                  Best Case Bankruptcy
 B6E (Official Form 6E) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                                 Case No.
                                                                                                                    ,
                                                                                                     Debtor

                      SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                         (Continuation Sheet)
                                                                                                                             Taxes and Certain Other Debts
                                                                                                                              Owed to Governmental Units
                                                                                                                                          TYPE OF PRIORITY
                                                                C   Husband, Wife, Joint, or Community                       C    U   D
             CREDITOR'S NAME,                                   O                                                            O    N   I                      AMOUNT NOT
                                                                D                                                            N    L   S                      ENTITLED TO
           AND MAILING ADDRESS                                  E   H          DATE CLAIM WAS INCURRED                       T    I   P      AMOUNT          PRIORITY, IF ANY
            INCLUDING ZIP CODE,                                 B   W
                                                                             AND CONSIDERATION FOR CLAIM                     I    Q   U
                                                                                                                                             OF CLAIM
           AND ACCOUNT NUMBER                                   T   J                                                        N    U   T                                AMOUNT
                                                                O                                                            G    I   E                             ENTITLED TO
              (See instructions.)                               R   C                                                        E    D   D
                                                                                                                             N    A
                                                                                                                                                                       PRIORITY
                                                                                                                             T    T
Account No.                                                             for notice only                                           E
                                                                                                                                  D

US-Department of Justice
950 Pennsylvania Avenue NW                                                                                                                                   Unknown
Washington, DC 20530-0001
                                                                    -

                                                                                                                                                Unknown              Unknown
Account No.                                                             for notice only

US-Dept. of Justice
Attorney General Civil                                                                                                                                       Unknown
Trial Section - Western Region
                                                                    -
P.O. Box 683 Ben Franklin Station
Washington, DC 20044
                                                                                                                                                Unknown              Unknown
Account No.                                                             for notice only

US-IRS
PO Box 21126                                                                                                                                                 Unknown
Stop N781
                                                                    -
Philadelphia, PA 19114

                                                                                                                                                Unknown                      0.00
Account No.




Account No.




       5
Sheet _____    5
            of _____  continuation sheets attached to                                                                     Subtotal                           0.00
Schedule of Creditors Holding Unsecured Priority Claims                                                          (Total of this page)                0.00                   0.00
                                                                                                                             Total                           0.00
                                                                                                   (Report on Summary of Schedules)                  0.00                   0.00
                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                               Page 19 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                   Best Case Bankruptcy
 B6F (Official Form 6F) (12/07)


           }
           n
           b
           s
           k
           e
           1
           c
           {
           u
           S
           r
           h
           d
           N
           o
           l
           p
           F
           i
           -
           C
           t
           y
           a
           m
           H
           g
           U




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor


                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims without priority against the
 debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is useful to the
 trustee and the creditor and may be provided if the debtor chooses to do so. If a minor child is a creditor, state the child's initials and the name and address of the child's
 parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m). Do not
 include claims listed in Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the entity on the appropriate
 schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether the husband, wife, both of them, or the marital community may be
 liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community."
       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled "Unliquidated." If the
 claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these three columns.)
       Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also on the Summary of
 Schedules and, if the debtor is an individual with primarily consumer debts, report this total also on the Statistical Summary of Certain Liabilities and Related Data.


       Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.

                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,                                            E               DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                     W
                 AND ACCOUNT NUMBER
                                                                                 B             CONSIDERATION FOR CLAIM. IF CLAIM             I   Q   U
                                                                                                                                                         AMOUNT OF CLAIM
                                                                                 T   J                                                       N   U   T
                                                                                 O               IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R
                                                                                     C
                                                                                                                                             E   D   D
                                                                                                                                             N   A
Account No. 0090874                                                                      Clinical Services                                   T   T
                                                                                                                                                 E
                                                                                                                                                 D

ACM Clinical Trials Division
PO Box 26290                                                                         -
Rochester, NY 14626

                                                                                                                                                                    169,488.53
Account No. 009251                                                                       Clinical Services

ACM Clinical Trials Division
PO Box 26290                                                                         -
Rochester, NY 14626

                                                                                                                                                                    210,496.91
Account No. 009432                                                                       Clinical Services

ACM Clinical Trials Division
PO Box 26290                                                                         -
Rochester, NY 14626

                                                                                                                                                                    176,812.20
Account No. 46233153                                                                     Office Supplies

Alphagraphics
1294 Anvilwood Court                                                                 -
Sunnyvale, CA 94089

                                                                                                                                                                         233.57

                                                                                                                                           Subtotal
 12 continuation sheets attached
_____                                                                                                                                                               557,031.21
                                                                                                                                 (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43 Page 20 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                          S/N:25158-081217 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

ATT Mobility
PO Box 6463                                                                          -
Carol Stream, IL 60197

                                                                                                                                                                      1,916.09
Account No. 13394, 13633                                                                 Office Supplies

Bay Shred
PO Box 1818                                                                          -
Pacifica, CA 94044

                                                                                                                                                                        272.00
Account No. 5600268112                                                                   Information Services

Bloomberg Finance LP
PO Box 30244                                                                         -
Hartford, CT 06150-0244

                                                                                                                                                                      5,400.00
Account No.                                                                              Consulting Services

Bonnie Horner
95 Main Street, #10                                                                  -
Los Altos, CA 94022

                                                                                                                                                                      1,400.00
Account No.                                                                              Consulting Services

Carl Zlatchin, PH.D
2456 Bush Street                                                                     -
San Francisco, CA 94115

                                                                                                                                                                      1,560.00

           1
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    10,548.09
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 21 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Clinical Services                                       E
                                                                                                                                                 D

Catalent Pharma Solutions
PO Box 828771                                                                        -
Philadelphia, PA 19182-8771

                                                                                                                                                                  205,164.56
Account No. 656                                                                          Unpaid Rent

CF02 Palo Alto, L.P.
PO Box 201939                                                                        -
Dept. 93929
Dallas, TX 75320-1939
                                                                                                                                                                    52,570.39
Account No. 15433                                                                        Office Equipment

CH Reynolds Electric Inc.
1281 Wayne Avenue                                                                    -
San Jose, CA 95131

                                                                                                                                                                      9,950.00
Account No.

CIT Technology Finance Serv., Inc.
PO Box 550599                                                                        -
Jacksonville, FL 32255

                                                                                                                                                                        750.13
Account No. 071-0811B-002                                                                Clinical Services

Corealis Pharma
141, Avenue President Kennedy,                                                       -
#SB6520
Montreal, Quebec
H2X 3YZ Canada                                                                                                                                                        2,015.00

           2
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  270,450.08
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 22 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Consulting Services                                     E
                                                                                                                                                 D

Donald J. Hayden, Jr.
9 Larkspur Lane                                                                      -
Newton, PA 18940

                                                                                                                                                                      5,000.00
Account No. 0021658-IN                                                                   Clinical Services

Dow Pharmaceutical Sciences
File 74444                                                                           -
PO Box 60000
San Francisco, CA 94160
                                                                                                                                                                        541.25
Account No.

eFax Corporation
c/o 2 Global Communications, Inc.                                                    -
PO Box 51873
Los Angeles, CA 90051
                                                                                                                                                                        324.10
Account No. 533316                                                                       IT Services

eMag Solutions, LLC
PO Box 64911                                                                         -
Baltimore, MD 21264-4911

                                                                                                                                                                        553.00
Account No. 16902                                                                        Facility Relocation management services

Facillicorp
1631 Willow Street, #10                                                              -
San Jose, CA 95125

                                                                                                                                                                    13,867.79

           3
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                    20,286.14
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 23 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Mailing Services                                        E
                                                                                                                                                 D

Federal Express
PO Box 7221                                                                          -
Pasadena, CA 91109

                                                                                                                                                                        151.66
Account No. 110108                                                                       Consulting Fee

Geoffery Meyerson
1640 Oakwood Drive #302                                                              -
Penn Valley, PA 19072

                                                                                                                                                                      1,350.00
Account No. 10507999                                                                     Legal Services

HellerEhrman LLP
333 Bush Street                                                                      -
San Francisco, CA 94101

                                                                                                                                                                      4,825.00
Account No. 1751110                                                                      Legal Services

Hogan & Hartson
8300 Greensboro Drive, #1100                                                         -
Mc Lean, VA 22102

                                                                                                                                                                        127.50
Account No. 84821                                                                        Legal Services

Hyman, Phelps & McNamara, P.C.
700 13th Street, N.W. #1200                                                          -
Washington, DC 20005

                                                                                                                                                                      1,230.00

           4
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      7,684.16
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 24 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Indo American Society of
Interventional Cardiology                                                            -
185 Shore Drive South
Miami, FL 33133
                                                                                                                                                                      3,000.00
Account No.                                                                              IT Services

InfoPartners
985 Industrial Road, #202                                                            -
San Carlos, CA 94070

                                                                                                                                                                      4,305.00
Account No.                                                                              Clinical Services

InSciTech
1215 Morris Avenue                                                                   -
Dorval, Quebec, H9S 1Z8, Canada,

                                                                                                                                                                    30,562.50
Account No. CP-2118-011                                                                  Clinical Services

Iris Latorre, PharmD.
21 Sullivan Drive                                                                    -
Basking Ridge, NJ 07920

                                                                                                                                                                      5,925.00
Account No.                                                                              Legal Services

Jones Day
222 East 41st Street                                                                 -
New York, NY 10017-6702

                                                                                                                                                                    86,627.80

           5
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  130,420.30
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 25 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                                                                                      E
                                                                                                                                                 D

Jordan Limited
20-22 Bedford Row                                                                    -
London WC1R, 4JS

                                                                                                                                                                        840.30
Account No. 0810-10060                                                                   Clinical Services

KABS Pharmaceutical Services
4500 de Tonnancour St                                                                -
Hubert, Quebec J3Y 9G2 Canada

                                                                                                                                                                      2,240.00
Account No. 211384331                                                                    Office Supplies

Konica Minolta Business Solutions
Dept LA22988                                                                         -
Pasadena, CA 91185-2988

                                                                                                                                                                        312.04
Account No. 08.11.26                                                                     Services

Mariann Caprino
261 School House Road                                                                -
Hudson, NY 12534

                                                                                                                                                                      1,000.00
Account No. 201065                                                                       Consulting Services

Marianne Mann, MD, PC
7105 Biter Lane                                                                      -
Highland, MD 20777

                                                                                                                                                                      3,000.00

           6
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                      7,392.34
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 26 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Clinical Services                                       E
                                                                                                                                                 D

Med Script Association
176 Chemlin St.-Henri, Ste-Marthe                                                    -
Quebec, Canada
JOP 1W0
                                                                                                                                                                      2,500.00
Account No.                                                                              Clinical Services

Michaels & associates
32108 Alvarado Blvd, #200                                                            -
Union City, CA 94587

                                                                                                                                                                    88,841.76
Account No.                                                                              Legal Services

Morgan Lewis
Dave Breznee                                                                         -
One Market, Spear St Tower
San Francisco, CA 94105
                                                                                                                                                                    13,309.28
Account No.

Morris, Nichols, Arsht & Tunnel, LLP
PO Box 1347                                                                          -
Wilmington, DE 19899

                                                                                                                                                                      5,235.71
Account No.                                                                              Legal Services

O'Melveny & Myers, LLP
2765 Sand Hill Road                                                                  -
Menlo Park, CA 94025

                                                                                                                                                                    74,749.19

           7
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  184,635.94
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 27 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 502484434                                                                    Office Supplies                                         E
                                                                                                                                                 D

Office Depot
PO Box 70025                                                                         -
Los Angeles, CA 90074-0025

                                                                                                                                                                        507.97
Account No.                                                                              Clinical services on behalf of 450 sites(e.g.
                                                                                         Hospitals, cath. labs, doctor's offices)
Parexel
5239 Paysphere Circle                                                                -
Chicago, IL 60674

                                                                                                                                                              13,893,528.71
Account No.                                                                              Clinical Servies

Patheon, Inc.
7070 Mississauga Road, #350                                                          -
Mississauga, Ontario, Canada

                                                                                                                                                                  389,947.21
Account No.

Peninsula Communications
562 E. Weddell Drive                                                                 -
Suite 2
Sunnyvale, CA 94089
                                                                                                                                                                          50.00
Account No.

Pension Dynamics
2300 Contra Costa Blvd.                                                              -
Suite 400
Pleasant Hill, CA 94523
                                                                                                                                                                        346.00

           8
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                              14,284,379.89
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 28 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No.                                                                              Convertible Debt                                        E
                                                                                                                                                 D

Pinnacle Ventures
130 Lytton Avenue, #220                                                              -
Palo Alto, CA 94301

                                                                                                                                                                  133,333.00
Account No.                                                                              Postge Services

Pitney Bowes
PO Box 856042                                                                        -
Louisville, KY 40285-6042

                                                                                                                                                                        193.98
Account No. 01910285                                                                     Telecommunication Services

Premier Global Services
PO Box 404351                                                                        -
Atlanta, GA 30384-6216

                                                                                                                                                                      1,632.13
Account No.                                                                              Convertible Debt

Prospect Venture Partners III, L.P.
435 Tasso Street, #200                                                               -
Palo Alto, CA 94301

                                                                                                                                                                  500,000.00
Account No. COGE0806, 0807, 0808                                                         Clinical Services

Quality Assurance Systems, Inc.
30848 Villa Toscana                                                                  -
Bonsall, CA 92003-6216

                                                                                                                                                                    24,804.90

           9
Sheet no. _____     12 sheets attached to Schedule of
                of _____                                                                                                                   Subtotal
                                                                                                                                                                  659,964.01
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 29 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. INC-011002                                                                   Clinical Services                                       E
                                                                                                                                                 D

Quintilles, Inc
PO Box 601070                                                                        -
Charlotte, NC 28260-1070

                                                                                                                                                                    31,705.62
Account No. 874, 890                                                                     Clinical Services

Regulatory Professionals, Inc
730 Kirkwall Place                                                                   -
Milpitas, CA 95035

                                                                                                                                                                    42,111.86
Account No.                                                                              Convertible Debt

Ridgeback Capital Investments, L.P.
430 Park Avenue, 12th Floor                                                          -
New York, NY 10022

                                                                                                                                                                  500,000.00
Account No. 1189                                                                         Consulting Services

Robert R. Fenichel
4121 Burkehill Road                                                                  -
West Vancouver, BC V7V 3M3
Canada
                                                                                                                                                                      1,466.66
Account No.

SAS Biomedic Insure
PIBS-CP 142 56038                                                                    -
Vannes Cedex France

                                                                                                                                                                      2,122.17

           10 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                  577,406.31
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 30 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                              Case No.
                                                                                                                          ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                      C   U   D
                    CREDITOR'S NAME,                                             O                                                           O   N   I
                    MAILING ADDRESS                                              D   H                                                       N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                 T   I   P
                                                                                 B                                                           I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM             N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.             G   I   E
                   (See instructions above.)                                     R                                                           E   D   D
                                                                                                                                             N   A
                                                                                                                                             T   T
Account No. 8.12.03                                                                      Clinical Consultant                                     E
                                                                                                                                                 D

Susan Schrader
8 Ridge Court                                                                        -
Redwood City, CA 94062

                                                                                                                                                                    17,111.25
Account No. 633, 633-A, 639                                                              Clinical Services

Synergee LLC
306 Upper Mountain Ave                                                               -
Upper Montclair, NJ 07043

                                                                                                                                                                    43,000.00
Account No.

Telepacific Communications
515 S. Flower St.                                                                    -
47th Floor
Los Angeles, CA 90071
                                                                                                                                                                      1,308.49
Account No.                                                                              Convertible Debt

The Keffi Group Ltd.
500 5th Avenue, 44th Floor                                                           -
New York, NY 10110

                                                                                                                                                                  500,000.00
Account No.

Verizon Wireless
PO Box 96088                                                                         -
Bellevue, WA 98009

                                                                                                                                                                        109.39

           11 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                       Subtotal
                                                                                                                                                                  561,529.13
Creditors Holding Unsecured Nonpriority Claims                                                                                   (Total of this page)




                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                             Page 31 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                 Best Case Bankruptcy
 B6F (Official Form 6F) (12/07) - Cont.




   In re          Cogentus Pharmaceuticals, Inc.                                                                                    Case No.
                                                                                                                           ,
                                                                                                        Debtor

                 SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                            (Continuation Sheet)




                                                                                 C   Husband, Wife, Joint, or Community                             C   U   D
                    CREDITOR'S NAME,                                             O                                                                  O   N   I
                    MAILING ADDRESS                                              D   H                                                              N   L   S
                  INCLUDING ZIP CODE,
                                                                                 E
                                                                                     W
                                                                                                 DATE CLAIM WAS INCURRED AND                        T   I   P
                                                                                 B                                                                  I   Q   U
                 AND ACCOUNT NUMBER                                              T   J         CONSIDERATION FOR CLAIM. IF CLAIM                    N   U   T   AMOUNT OF CLAIM
                                                                                 O   C           IS SUBJECT TO SETOFF, SO STATE.                    G   I   E
                   (See instructions above.)                                     R                                                                  E   D   D
                                                                                                                                                    N   A
                                                                                                                                                    T   T
Account No. 240                                                                          Consulting Services                                            E
                                                                                                                                                        D

Woodfield Clinical Consulting LLC
5481 South Acacia Creek Drive                                                        -
Green Valley, AZ 85614-8098

                                                                                                                                                                             9,000.00
Account No. 2008-18105                                                                   Office Supplies

Workspace Innovations
240 El Camino Real                                                                   -
Belmont, CA 94002

                                                                                                                                                                             1,487.50
Account No.




Account No.




Account No.




           12 of _____
Sheet no. _____    12 sheets attached to Schedule of                                                                                              Subtotal
                                                                                                                                                                           10,487.50
Creditors Holding Unsecured Nonpriority Claims                                                                                          (Total of this page)
                                                                                                                                                    Total
                                                                                                                          (Report on Summary of Schedules)           17,282,215.10

                   Case: 09-50250                      Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                                    Page 32 of
 Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                        81                                                                        Best Case Bankruptcy
B6G (Official Form 6G) (12/07)


           a
           }
           n
           b
           d
           k
           1
           U
           {
           S
           e
           c
           x
           h
           p
           i
           r
           u
           l
           L
           G
           -
           s
           E
           t
           o
           y
           C




  In re             Cogentus Pharmaceuticals, Inc.                                                              Case No.
                                                                                                      ,
                                                                                    Debtor

                         SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
               Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests. State nature
               of debtor's interest in contract, i.e., "Purchaser", "Agent", etc. State whether debtor is the lessor or lessee of a lease. Provide the names and
               complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to one of the leases or contracts,
               state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
               disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
                  Check this box if debtor has no executory contracts or unexpired leases.
                                                                                      Description of Contract or Lease and Nature of Debtor's Interest.
                   Name and Mailing Address, Including Zip Code,                           State whether lease is for nonresidential real property.
                       of Other Parties to Lease or Contract                                 State contract number of any government contract.

                     Aclairo Pharmaceutical Development                                  toxicology services
                     Group (Hilary Sheevers)
                     PO Box 11308
                     Mc Lean, VA 22102

                     ACM Clinical Trials Division                                        clinical services agreement
                     P.O. Box 26290
                     Rochester, NY 14626

                     Angel Lanas                                                         clinical/regulatory consultant
                     C/La Ontina
                     Aibar, Navarra
                     Spain

                     Aqua Prix                                                           Corporate Lease
                     PO Box 644006
                     Cincinnati, OH 45264-4006

                     Biosoteria, Inc.                                                    clinical consulting
                     958 Oak Vista Court
                     Lafayette, CA 94549

                     Bonnie Horner                                                       corporate consultant
                     95 Main Street, #10
                     Los Altos, CA 94022

                     Byron Cryer                                                         clinical consulting
                     627 Kessler Lake Dr.
                     Dallas, TX 75208

                     Catalent Pharma Solutions                                           Non-Clinical Service Agreement
                     PO Box 828771
                     Philadelphia, PA 19182-8771

                     CF02 Palo Alto, L.P.                                                Corporate Lease
                     PO Box 201939
                     Dept. 93929
                     Dallas, TX 75320-1939

                     Colice Pharmaceutical Consulting, LLC                               regulatory consultant
                     808 Edelblut Drive
                     Silver Spring, MD 20901

                     Constella Group Ltd.                                                clinical/regulatory consulting
                     20 Milton Park
                     Abingdon,
                     Oxfordshire, OX14 4SH, UK



       5
                   Case: 09-50250
                 continuation sheets attached toDoc#   1 of Executory
                                                 Schedule   Filed: 01/16/09         Entered:Leases
                                                                      Contracts and Unexpired 01/16/09             14:22:43         Page 33 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                  81                                                            Best Case Bankruptcy
  In re          Cogentus Pharmaceuticals, Inc.                                                                      Case No.
                                                                                                          ,
                                                                                         Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                (Continuation Sheet)


                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                   State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                         State contract number of any government contract.
                    Corealis Pharma                                                          Non-clinical Services Agreement
                    141 Avenue President Kennedy,
                    SB6520
                    Monteal, Quebec

                    Covance                                                                  Clinical Services Agreement
                    PO Box 820511
                    Philadelphia, PA 19182

                    David Stout                                                              clinical/regulatory consultant
                    P.O. Box 342
                    Freedom, WY 83120

                    Deepak Bhat                                                              clinical and regulatory consulting
                    Cleveland Clinical
                    9500 Euclid Avenue
                    Desk F25
                    Cleveland, OH 44195

                    Donald J. Hayden, Jr.                                                    marketing consultant
                    9 Larkspur Lane
                    Newton, PA 18940

                    Facillicorp                                                              Corporate Lease
                    1631 Willow Street, #10
                    San Jose, CA 95125

                    FDA Ready Consulting                                                     regulatory consulting
                    8 Decelle Court
                    Alameda, CA 94501

                    Geoffrey Meyerson                                                        finance consultant
                    1640 Oakwood Drive, #10
                    Penn Valley, PA 19072

                    Guirag Proochikian                                                       clinical/regulatory consultant
                    7812 ydal Terrace
                    Rockville, MD 20855

                    Heart Research Consulting (Kim Fox/                                      clinical/regulatory consultant
                    Karen Summers)
                    88 Harley Street
                    London, W18 7HR, UK

                    ICON                                                                     clinical study services
                    2 Grand Central Tower
                    140 East 45th Street, Suite 12A
                    New York, NY 10017

                    InfoPartners                                                             Corporate/IT Services Agreement
                    985 Industrial Road, #202
                    San Carlos, CA 94070




     Sheet      1      of 5         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases
                    Case: 09-50250                    Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                     Page 34 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                       81                                                           Best Case Bankruptcy
  In re          Cogentus Pharmaceuticals, Inc.                                                                      Case No.
                                                                                                          ,
                                                                                         Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                (Continuation Sheet)


                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                   State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                         State contract number of any government contract.
                    InSciTech                                                                clinical/regulatory consultant
                    1215 Morris Avenue
                    Dorval, Quebec, H9S 1Z8, Canada,

                    Iris Latorre, PharmD.                                                    clinical consultant
                    21 Sullivan Drive
                    Basking Ridge, NJ 07920

                    Iron Mountain Live Vault                                                 Corporate/IT Services Agreement
                    PO Box 27128
                    New York, NY 10087-7128

                    James Donohue                                                            clinical/regulatory consultant
                    UNC School of Medicine
                    Bioinfomatics Bldg., CB# 7020
                    130 Manson Farm Rd, Rm 4124
                    Chapel Hill, NC 27599

                    KABS Pharmaceutical Services                                             Non-clinical Services Agreement
                    4500 de Tonnancour St
                    Hubert, Quebec J3Y 9G2 Canada

                    Konica Minolta Business Solutions                                        Corporate Lease
                    Dept LA22988
                    Pasadena, CA 91185-2988

                    Leslie Frankel                                                           clinical/regulatory consulting
                    1886 Edmond Road
                    Abington, PA 19001

                    Lewis Rubin                                                              clinical/regulatory consultant
                    6404 Avenida Wilfredo
                    La Jolla, CA 92037

                    Lisa Jennings                                                            clinical consultant
                    5039 Cole Road
                    Memphis, TN 38117

                    Live Meeting                                                             Corporate/IT Services Agreement
                    One Microsoft Way
                    Redmond, WA 98052

                    Marc Cohen                                                               clinical consultant
                    32 Westmount Drive
                    Livingston, NJ 07039

                    Mariann Caprino                                                          marketing consultant
                    261 School House Road
                    Hudson, NY 12534

                    Marianne C. Mann, MD PC                                                  clinical/regulatory consultant
                    7105 Bifer Lane
                    Highland, MD 20777



     Sheet      2      of 5         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases
                    Case: 09-50250                    Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                     Page 35 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                       81                                                           Best Case Bankruptcy
  In re          Cogentus Pharmaceuticals, Inc.                                                                      Case No.
                                                                                                          ,
                                                                                         Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                (Continuation Sheet)


                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                   State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                         State contract number of any government contract.
                    Martin Ogeltree                                                          clinical/regulatory consultant
                    646 S. State Street
                    Newtown, PA 18940

                    Med-Script Association                                                   regulatory consultant
                    176 Chemlin St-Henri, Ste-Marthe
                    Quebec, Canada
                    JOP 1W0

                    Michaels & associates                                                    quality compliance consultant
                    32108 Alvarado Blvd, #200
                    Union City, CA 94587

                    Murli Krishna                                                            non-clinical Services Agreement
                    D-98, Ranjangaon M.I.D.C., Tal-Shirur
                    Distpune, Pin-412 209 India

                    Myrna Dolovich                                                           clinical/regulatory consultant
                    391 Queen St. South
                    Hamilton ON
                    L8P 3TG, Canada

                    Osbakken Consulting                                                      regulatory consultant
                    29 W. Walnut Lane
                    Philadelphia, PA 19144

                    Parexel                                                                  Clinical Study Servies
                    200 West Street
                    Waltham, MA 02451

                    Patheon, Inc.                                                            Non-clinical services agreement
                    7070 Mississauga Road, #350
                    Mississauga, Ontario, Canada

                    Paul Gurbel                                                              clinical/regulatory consultant
                    Platelet and Thrombosis Research LLC
                    Sainao Hospital
                    2401 W. Belvedere Avenue
                    Baltimore, MD 21215

                    PharmaDelivery Solutions                                                 product development/regulatory consultant
                    Dalheim, Low Road, Grimston
                    Norfolk, PE 321AF
                    UK

                    QuadraMed                                                                Non-clinical services agreement
                    MG House, Rumbolds Hill
                    Midhurst, West Sussex, GU29 9BY UK

                    Quality Assurance Systems, Inc.                                          clinical consultant
                    30848 Villa Toscana
                    Bonsall, CA 92003-6216




     Sheet      3      of 5         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases
                    Case: 09-50250                    Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                     Page 36 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                       81                                                           Best Case Bankruptcy
  In re          Cogentus Pharmaceuticals, Inc.                                                                      Case No.
                                                                                                          ,
                                                                                         Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                (Continuation Sheet)


                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                   State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                         State contract number of any government contract.
                    Quintilles, Inc                                                          Clinical Services Agreement
                    PO Box 601070
                    Charlotte, NC 28260-1070

                    Raymond Lipicky                                                          clinical/regulatory consultant
                    15201 Apricot Lane
                    North Patomac, MD 20878

                    Regulatory Professionals, Inc                                            Non-clinical services agreement
                    730 Kirkwall Place
                    Milpitas, CA 95035

                    Richard Becker                                                           analysis preclinical data
                    2400 Pratt Street
                    Durham, NC 27715

                    Robert R. Fenichel                                                       clinical/regulatory consulting
                    4121 Burkehill Road
                    West Vancouver, BC V7V 3M3
                    Canada

                    Steven Steinhubl                                                         clinical/regulatory consultant
                    1413 Brianna Ct.
                    Lexington, KY 40513

                    Susan Schrader                                                           clinical consultant
                    8 Ridge Court
                    Woodside, CA 94062

                    Synergee LLC                                                             project management consultant
                    306 Upper Mountain Ave
                    Upper Montclair, NJ 07043

                    Telepacific Communications                                               Corporate/IT Services Agreement
                    PO Box 526015
                    Sacramento, CA 95852-6015

                    Teresa De Marco                                                          clinical consultant
                    Division of Cardiology
                    505 Parnassus Avenue, 1180M
                    San Francisco, CA 94143

                    The Weinberg Group, Inc.                                                 regulatory consultant
                    1220 19th Street, NW, Suite 301
                    Washington, DC 20036

                    Thomas H. Rossing                                                        regulatory consultant
                    95 Rowell Drive
                    Lyons, CO 80540

                    Thomas Schnitzer                                                         clinical consultant
                    910 S. Laflin Street
                    Chicago, IL 60607



     Sheet      4      of 5         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases
                    Case: 09-50250                    Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                     Page 37 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                       81                                                           Best Case Bankruptcy
  In re          Cogentus Pharmaceuticals, Inc.                                                                      Case No.
                                                                                                          ,
                                                                                         Debtor

                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                (Continuation Sheet)


                                                                                           Description of Contract or Lease and Nature of Debtor's Interest.
                Name and Mailing Address, Including Zip Code,                                   State whether lease is for nonresidential real property.
                    of Other Parties to Lease or Contract                                         State contract number of any government contract.
                    Woodfield Clinical Consulting LLC                                        clinical consultant
                    5481 South Acacia Creek Drive
                    Green Valley, AZ 85614-8098

                    Workspace Innovations                                                    Corporate Miscellaneous
                    240 El Camino Real
                    Belmont, CA 94002




     Sheet      5      of 5         continuation sheets attached to the Schedule of Executory Contracts and Unexpired Leases
                    Case: 09-50250                    Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                     Page 38 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                       81                                                           Best Case Bankruptcy
B6H (Official Form 6H) (12/07)


           }
           b
           k
           1
           {
           S
           c
           h
           e
           d
           u
           l
           H
           -
           C
           o
           t
           r
           s




  In re          Cogentus Pharmaceuticals, Inc.                                                          Case No.
                                                                                               ,
                                                                                Debtor

                                                                      SCHEDULE H - CODEBTORS
         Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed
     by debtor in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state,
     commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or
     Wisconsin) within the eight year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of
     any former spouse who resides or resided with the debtor in the community property state, commonwealth, or territory. Include all names used
     by the nondebtor spouse during the eight years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor,
     state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not
     disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).
         Check this box if debtor has no codebtors.
                  NAME AND ADDRESS OF CODEBTOR                                       NAME AND ADDRESS OF CREDITOR




       0
               continuation sheets attached to
                 Case: 09-50250                Schedule
                                             Doc#   1 ofFiled:
                                                         Codebtors
                                                                01/16/09             Entered: 01/16/09 14:22:43              Page 39 of
Copyright (c) 1996-2008 - Best Case Solutions - Evanston, IL - (800) 492-8037
                                                                                81                                                      Best Case Bankruptcy
B6 Declaration (Official Form 6 - Declaration). (12/07)

                                                                  United States Bankruptcy Court
                                                                         Northern District of California
 In re       Cogentus Pharmaceuticals, Inc.                                                                          Case No.
                                                                                             Debtor(s)               Chapter     7




                                         DECLARATION CONCERNING DEBTOR'S SCHEDULES

                DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP




                       I, the Senior Vice President & Secretary of the corporation named as debtor in this case, declare under
             penalty of perjury that I have read the foregoing summary and schedules, consisting of 36 sheets, and that they
             are true and correct to the best of my knowledge, information, and belief.




 Date January 16, 2009                                                          Signature    /s/ Margaret A. Horn
                                                                                             Margaret A. Horn
                                                                                             Senior Vice President & Secretary

     Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                      18 U.S.C. §§ 152 and 3571.




Software Copyright (c) 1996-2006 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                      Page 40 of
                                                                                   81
B7 (Official Form 7) (12/07)



                                                                  United States Bankruptcy Court
                                                                         Northern District of California
 In re       Cogentus Pharmaceuticals, Inc.                                                                    Case No.
                                                                                             Debtor(s)         Chapter        7


                                                          STATEMENT OF FINANCIAL AFFAIRS

           This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on which the information for
both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor must furnish information for both spouses whether or
not a joint petition is filed, unless the spouses are separated and a joint petition is not filed. An individual debtor engaged in business as a sole
proprietor, partner, family farmer, or self-employed professional, should provide the information requested on this statement concerning all such
activities as well as the individual's personal affairs. To indicate payments, transfers and the like to minor children, state the child's initials and the
name and address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11
U.S.C. § 112; Fed. R. Bankr. P. 1007(m).

          Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below, also must complete
Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If additional space is needed for the answer
to any question, use and attach a separate sheet properly identified with the case name, case number (if known), and the number of the question.


                                                                                             DEFINITIONS

          "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An individual debtor is "in
business" for the purpose of this form if the debtor is or has been, within six years immediately preceding the filing of this bankruptcy case, any of
the following: an officer, director, managing executive, or owner of 5 percent or more of the voting or equity securities of a corporation; a partner,
other than a limited partner, of a partnership; a sole proprietor or self-employed full-time or part-time. An individual debtor also may be "in business"
for the purpose of this form if the debtor engages in a trade, business, or other activity, other than as an employee, to supplement income from the
debtor's primary employment.

          "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and their relatives;
corporations of which the debtor is an officer, director, or person in control; officers, directors, and any owner of 5 percent or more of the voting or
equity securities of a corporate debtor and their relatives; affiliates of the debtor and insiders of such affiliates; any managing agent of the debtor. 11
U.S.C. § 101.

                                                               __________________________________________

               1. Income from employment or operation of business

    None       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's
               business, including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar
               year to the date this case was commenced. State also the gross amounts received during the two years immediately preceding this
               calendar year. (A debtor that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may
               report fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income of both spouses whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE

               2. Income other than from employment or operation of business

    None       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business
               during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for
               each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint
               petition is filed, unless the spouses are separated and a joint petition is not filed.)

                           AMOUNT                                   SOURCE
                           $493,250.03                              12/31/2008 Silicon Valley Bank-CD & Securites Account
                                                                    Employee Promissory Notes



Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                    Page 41 of
                                                                                   81
                                                                                                                                                            2

                           AMOUNT                                   SOURCE
                           $549,063.81                              2007 Silicon Valley Bank - CD & Securities Account
                                                                    Employee Promissory Notes

               3. Payments to creditors

    None       Complete a. or b., as appropriate, and c.

               a. Individual or joint debtor(s) with primarily consumer debts. List all payments on loans, installment purchases of goods or services,
               and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless the aggregate value
               of all property that constitutes or is affected by such transfer is less than $600. Indicate with an (*) any payments that were made to a
               creditor on account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved
               nonprofit budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS                                                                  DATES OF                                           AMOUNT STILL
    OF CREDITOR                                                                    PAYMENTS                   AMOUNT PAID               OWING

    None       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 days
               immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such
               transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on
               account of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit
               budgeting and creditor counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or
               both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                                   AMOUNT
                                                                                   DATES OF                         PAID OR
                                                                                   PAYMENTS/                      VALUE OF            AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS                     TRANSFERS               OWING
 Catalent Pharma Solutions                                                         10/16/08                      $51,193.46           $205,164.56
 PO Box 828771
 Philadelphia, PA 19182-8771
 Catalent Pharma Solutions                                                         10/23/08                     $208,417.53           $205,164.56
 PO Box 828771
 Philadelphia, PA 19182-8771
 Catalent Pharma Solutions                                                         10/28/08                      $17,068.33           $205,164.56
 PO Box 828771
 Philadelphia, PA 19182-8771
 Catalent Pharma Solutions                                                         10/30/08                      $34,998.37           $205,164.56
 PO Box 828771
 Philadelphia, PA 19182-8771
 Catalent Pharma Solutions                                                         11/5/08                        $2,154.63           $205,164.56
 PO Box 828771
 Philadelphia, PA 19182-8771
 Catalent Pharma Solutions                                                         11/7/08                          $676.20           $205,164.56
 PO Box 828771
 Philadelphia, PA 19182-8771
 CF02 Palo Alto, L.P.                                                              11/7/08                       $88,825.58             $52,570.39
 PO Box 201939
 Dept. 93929
 Dallas, TX 75320-1939
 CF02 Palo Alto, L.P.                                                              11/13/08                      $18,238.22             $52,570.39
 PO Box 201939
 Dept. 93929
 Dallas, TX 75320-1939
 Corealis Pharma                                                                   10/28/08                      $27,840.95              $2,015.00
 141, Avenue President Kennedy, #SB6520
 Montreal, Quebec H2X 3Y7 Canada



Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                Page 42 of
                                                                                   81
                                                                                                                                            3

                                                                                                         AMOUNT
                                                                                   DATES OF               PAID OR
                                                                                   PAYMENTS/            VALUE OF        AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS           TRANSFERS           OWING
 Corealis Pharma                                                                   11/13/08             $3,000.00         $2,015.00
 141, Avenue President Kennedy, #SB6520
 Montreal, Quebec
 H2X 3YZ Canada
 Monteal, Quebec
 Donald J. Hayden, Jr.                                                             10/16/08             $5,000.00         $5,000.00
 9 Larkspur Lane
 Newtown, PA 18940
 Donald J. Hayden, Jr.                                                             11/7/08              $5,000.00         $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
 FacilliCorp                                                                       11/7/08              $9,820.75        $13,867.79
 1631 Willow Street, #10
 San Jose, CA 95125
 InfoPartners                                                                      10/16/08               $371.25         $4,305.00
 985 Industrial Road, #2002
 San Carlos, CA 94070
 InfoPartners                                                                      11/7/08              $4,387.50         $4,305.00
 985 Industrial Road, #2002
 San Carlos, CA 94070
 InfoPartners                                                                      11/13/08             $1,900.56         $4,305.00
 985 Industrial Road, #2002
 San Carlos, CA 94070
 InfoPartners                                                                      12/11/08            $12,810.56         $4,305.00
 985 Industrial Road, #2002
 San Carlos, CA 94070
 InSciTech                                                                         10/30/08             $9,000.00        $30,562.50
 1215 Morris Avenue
 Dorval, Quebec
 InSciTech                                                                         11/7/08              $3,000.00        $30,562.50
 1215 Morris Avenue
 Dorval, Quebec, H9S 1Z8, Canada,
 InSciTech                                                                         11/13/08            $23,462.77        $30,562.50
 1215 Morris Avenue
 Dorval, Quebec, H9S 1Z8, Canada,
 Iris Latorre, PharmD.                                                             10/23/08             $6,300.00         $5,925.00
 21 Sullivan Drive
 Basking Ridge, NJ 07920
 Iris Latorre, PharmD.                                                             11/13/08             $7,650.00         $5,925.00
 21 Sullivan Drive
 Basking Ridge, NJ 07920
 Jones Day                                                                         11/7/08             $19,040.50        $86,627.80
 222 East 41st Street
 New York, NY 10017-6702
 Michaels & Associates                                                             10/30/08            $41,810.89        $88,841.76
 32108 Alvarado Blvd, #200
 Union City, CA 94587
 O'Melveny & Myers, LLP                                                            11/13/08             $4,869.50        $74,749.19
 2765 Sand Hill Road
 Menlo Park, CA 94025




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43     Page 43 of
                                                                                   81
                                                                                                                                              4

                                                                                                          AMOUNT
                                                                                   DATES OF                PAID OR
                                                                                   PAYMENTS/             VALUE OF        AMOUNT STILL
 NAME AND ADDRESS OF CREDITOR                                                      TRANSFERS            TRANSFERS            OWING
 Parexel                                                                           10/16/08          $4,160,736.83     $13,893,528.71
 5239 Paysphere Circle
 Chicago, IL 60674
 Parexel                                                                           12/10/08          $1,500,000.00     $13,893,528.71
 5239 Paysphere Circle
 Chicago, IL 60674
 Pinnacle Ventures                                                                 11/3/08            $299,131.78        $133,333.00
 130 Lytton Avenue, #220
 Palo Alto, CA 94301
 Quintilles, Inc                                                                   11/13/08            $12,394.41         $31,705.62
 PO Box 601070
 Charlotte, NC 28260-1070
 Regulatory Professionals, Inc                                                     10/16/08            $28,627.12         $42,111.86
 730 Kirkwall Place
 Milpitas, CA 95035
 Susan Schrader                                                                    11/7/08             $17,955.00         $17,111.25
 8 Ridge Court
 Redwood City, CA 94062
 Synergee LLC                                                                      11/7/08             $26,855.04         $43,000.00
 306 Upper Mountain Ave
 Upper Montclair, NJ 07043
 Workspace Innovations                                                             11/13/08            $43,256.46           $1,487.50
 240 El Camino Real
 Belmont, CA 94002
 SAS Biomedic Insure                                                               10/24/08            $15,694.80           $2,122.17
 PIBS-CP 142 56038
 Vannes Cedex France
 SAS Biomedic Insure                                                               10/28/08            $19,153.01           $2,122.17
 PIBS-CP 142 56038
 Vannes Cedex France
 SAS Biomedic Insure                                                               10/31/08            $73,262.86           $2,122.17
 PIBS-CP 142 56038
 Vannes Cedex France
 SAS Biomedic Insure                                                               11/5/08              $2,859.25           $2,122.17
 PIBS-CP 142 56038
 Vannes Cedex France
 SAS Biomedic Insure                                                               11/13/08            $11,411.19           $2,122.17
 PIBS-CP 142 56038
 Vannes Cedex France
 Peninsula Communications                                                          11/7/08              $5,845.86              $50.00
 562 E. Weddell Drive
 Suite 2
 Sunnyvale, CA 94089
 Peninsula Communications                                                          11/13/08            $30,306.18              $50.00
 562 E. Weddell Drive
 Suite 2
 Sunnyvale, CA 94089




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                  Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43      Page 44 of
                                                                                   81
                                                                                                                                                            5
    None       c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the benefit of
               creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR AND                                                                                                    AMOUNT STILL
        RELATIONSHIP TO DEBTOR                                                     DATE OF PAYMENT              AMOUNT PAID             OWING
 Donald J. Hayden, Jr.                                                             2/7/08                         $5,000.00            $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             3/7/08                          $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             4/4/08                          $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             5/15/08                         $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             6/18/08                         $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             7/10/08                         $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             8/28/08                         $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             9/22/08                         $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             10/16/08                        $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors
 Donald J. Hayden, Jr.                                                             11/07/08                        $5,000.00             $5,000.00
 9 Larkspur Lane
 Newton, PA 18940
    Member, Board of Directors

               4. Suits and administrative proceedings, executions, garnishments and attachments

    None       a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding the filing of
               this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses
               whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 CAPTION OF SUIT                                                                              COURT OR AGENCY       STATUS OR
 AND CASE NUMBER                                NATURE OF PROCEEDING                          AND LOCATION          DISPOSITION




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                               Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                Page 45 of
                                                                                   81
                                                                                                                                                             6
    None       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

 NAME AND ADDRESS OF PERSON FOR WHOSE                                                              DESCRIPTION AND VALUE OF
    BENEFIT PROPERTY WAS SEIZED                                                 DATE OF SEIZURE           PROPERTY

               5. Repossessions, foreclosures and returns

    None       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or
               returned to the seller, within one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12
               or chapter 13 must include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

                                                                           DATE OF REPOSSESSION,
 NAME AND ADDRESS OF                                                         FORECLOSURE SALE,      DESCRIPTION AND VALUE OF
  CREDITOR OR SELLER                                                        TRANSFER OR RETURN              PROPERTY

               6. Assignments and receiverships

    None       a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the commencement of
               this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a
               joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                        DATE OF
 NAME AND ADDRESS OF ASSIGNEE                                           ASSIGNMENT                  TERMS OF ASSIGNMENT OR SETTLEMENT

    None       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year immediately
               preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
               property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                                   NAME AND LOCATION
 NAME AND ADDRESS                                                       OF COURT                     DATE OF        DESCRIPTION AND VALUE OF
   OF CUSTODIAN                                                    CASE TITLE & NUMBER               ORDER                PROPERTY

               7. Gifts

    None       List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except ordinary
               and usual gifts to family members aggregating less than $200 in value per individual family member and charitable contributions
               aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by
               either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

   NAME AND ADDRESS OF                                             RELATIONSHIP TO                                     DESCRIPTION AND
 PERSON OR ORGANIZATION                                             DEBTOR, IF ANY                  DATE OF GIFT        VALUE OF GIFT
 American Heart Association                                                                         1/15/08            Donation $500.00
 Natiional Center
 7272 Greenville Ave
 Dallas, TX 75231
 East Palo Alto Kids Foundation                                                                     1/15/08            Donation $500.00
 PO Box 50542
 Palo Alto, CA 94303
 Brigham & Women's Hospital                                                                         10/8/08            Donation $500.00
 116 Huntington Ave, 5th Floor
 Boston, MA 02116
 John Hoskins                                                                                       10/28/08           Reimbursement for
 21 Sullivan Drive                                                                                                     appreciation chocolate for
 Basking Ridge, NJ 07920                                                                                               CG104 coordinators NA
                                                                                                                       $2,377.80




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                 Page 46 of
                                                                                   81
                                                                                                                                                              7

               8. Losses

    None       List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement of this case or
               since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                       DESCRIPTION OF CIRCUMSTANCES AND, IF
 DESCRIPTION AND VALUE                                                                 LOSS WAS COVERED IN WHOLE OR IN PART
     OF PROPERTY                                                                          BY INSURANCE, GIVE PARTICULARS         DATE OF LOSS

               9. Payments related to debt counseling or bankruptcy

    None       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation
               concerning debt consolidation, relief under the bankruptcy law or preparation of the petition in bankruptcy within one year immediately
               preceding the commencement of this case.

                                                                                    DATE OF PAYMENT,                       AMOUNT OF MONEY
 NAME AND ADDRESS                                                                NAME OF PAYOR IF OTHER                OR DESCRIPTION AND VALUE
      OF PAYEE                                                                         THAN DEBTOR                            OF PROPERTY
 William C. Lewis, Esq.                                                          12/19/08                             $15,000.00
 510 Waverley Street
 Palo Alto, CA 94301

               10. Other transfers

    None       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor,
               transferred either absolutely or as security within two years immediately preceding the commencement of this case. (Married debtors
               filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the
               spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF TRANSFEREE,                                                                        DESCRIBE PROPERTY TRANSFERRED
     RELATIONSHIP TO DEBTOR                                                     DATE                           AND VALUE RECEIVED

    None       b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a self-settled
               trust or similar device of which the debtor is a beneficiary.

 NAME OF TRUST OR OTHER                                                                                 AMOUNT OF MONEY OR DESCRIPTION AND
 DEVICE                                                                         DATE(S) OF              VALUE OF PROPERTY OR DEBTOR'S INTEREST
                                                                                TRANSFER(S)             IN PROPERTY

               11. Closed financial accounts

    None       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or
               otherwise transferred within one year immediately preceding the commencement of this case. Include checking, savings, or other
               financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds,
               cooperatives, associations, brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must
               include information concerning accounts or instruments held by or for either or both spouses whether or not a joint petition is filed,
               unless the spouses are separated and a joint petition is not filed.)

                                                                                   TYPE OF ACCOUNT, LAST FOUR
                                                                                   DIGITS OF ACCOUNT NUMBER,           AMOUNT AND DATE OF SALE
 NAME AND ADDRESS OF INSTITUTION                                                  AND AMOUNT OF FINAL BALANCE                 OR CLOSING
 SVB Financial Group                                                             Investment Securities Account 0487    0
 3003 Tasman Drive
 Santa Clara, CA 95054




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                  Page 47 of
                                                                                   81
                                                                                                                                                                8

               12. Safe deposit boxes

    None       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within one year
               immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or
               depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
               filed.)

                                                              NAMES AND ADDRESSES
 NAME AND ADDRESS OF BANK                                     OF THOSE WITH ACCESS                       DESCRIPTION            DATE OF TRANSFER OR
  OR OTHER DEPOSITORY                                         TO BOX OR DEPOSITORY                       OF CONTENTS             SURRENDER, IF ANY

               13. Setoffs

    None       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding the
               commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both
               spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

 NAME AND ADDRESS OF CREDITOR                                                    DATE OF SETOFF                         AMOUNT OF SETOFF
 Pinnacle Ventures                                                               11/19/08                               133,333.00
 130 Lytton Avenue, #220
 Palo Alto, CA 94301
 CF02 Palo Alto, L.P.                                                            12/31/08                               45,605.00
 PO Box 201939
 Dept. 93929
 Dallas, TX 75320-1939

               14. Property held for another person

    None       List all property owned by another person that the debtor holds or controls.


                                                                                 DESCRIPTION AND VALUE OF
 NAME AND ADDRESS OF OWNER                                                              PROPERTY                        LOCATION OF PROPERTY
 Pitney Bowes                                                                    Postage Machine                        1891 Page Mill Road, #200
 PO Box 856042                                                                                                          Palo Alto, CA 94304
 Louisville, KY 40285-6042
 Aquaprix, Inc.                                                                  Drinking Water dispenser               1891 Page Mill Road, #200
 PO Box 644006                                                                                                          Palo Alto, CA 94304
 Cincinnati, OH 45264-4006
 CIT Technology Finance Services, Inc                                            Konica Minolta Copier                  1891 Page Mill Road, #200
 PO Box 100706                                                                                                          Palo Alto, CA 94304
 Pasadena, CA 91189-0706

               15. Prior address of debtor

    None       If the debtor has moved within three years immediately preceding the commencement of this case, list all premises which the debtor
               occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate
               address of either spouse.

 ADDRESS                                                                         NAME USED                              DATES OF OCCUPANCY
 435 Tasso Street, #200                                                          Amplify, Inc.                          11/8/05 - 7/2006
 Palo Alto, CA 94301-1553
 301 Ravenswood Avenue, #100                                                     Cogentus Pharmaceuticals, Inc          7/15/06-9/2008
 Menlo Park, CA 94025
 1891 Page Mill Road, #200                                                       Cogentus Pharmaceuticals, Inc          9/16/08
 Palo Alto, CA 94304




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                   Page 48 of
                                                                                   81
                                                                                                                                                             9

               16. Spouses and Former Spouses

    None       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho,
               Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years immediately preceding the
               commencement of the case, identify the name of the debtor’s spouse and of any former spouse who resides or resided with the debtor in
               the community property state.

 NAME

               17. Environmental Information.

               For the purpose of this question, the following definitions apply:

               "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous
               or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to,
               statutes or regulations regulating the cleanup of these substances, wastes, or material.

                      "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly
                      owned or operated by the debtor, including, but not limited to, disposal sites.

                      "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material,
                      pollutant, or contaminant or similar term under an Environmental Law

    None       a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable
               or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known,
               the Environmental Law:

                                                              NAME AND ADDRESS OF                DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                  NOTICE                       LAW

    None       b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous
               Material. Indicate the governmental unit to which the notice was sent and the date of the notice.

                                                              NAME AND ADDRESS OF                DATE OF                      ENVIRONMENTAL
 SITE NAME AND ADDRESS                                        GOVERNMENTAL UNIT                  NOTICE                       LAW

    None       c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which
               the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the
               docket number.

 NAME AND ADDRESS OF
 GOVERNMENTAL UNIT                                                               DOCKET NUMBER                         STATUS OR DISPOSITION




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                 Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                 Page 49 of
                                                                                   81
                                                                                                                                                              10

               18 . Nature, location and name of business

    None       a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a
               partnership, sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within six years
               immediately preceding the commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities
               within six years immediately preceding the commencement of this case.

               If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within six
               years immediately preceding the commencement of this case.

               If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the businesses, and beginning and
               ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within six
               years immediately preceding the commencement of this case.

                                     LAST FOUR DIGITS OF
                                     SOCIAL-SECURITY OR
                                     OTHER INDIVIDUAL
                                     TAXPAYER-I.D. NO.                                                                             BEGINNING AND
 NAME                                (ITIN)/ COMPLETE EIN                  ADDRESS                NATURE OF BUSINESS               ENDING DATES
 Cogentus                            6433203                               20-22 Bedford Row,     General Commercial               11/21/07
 Pharmaceuticals                                                           London WC1R 4JS UK     Company
 International

    None       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.


 NAME                                                                           ADDRESS


    The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has
been, within six years immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or
owner of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole
proprietor or self-employed in a trade, profession, or other activity, either full- or part-time.

     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in business, as defined above,
within six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
directly to the signature page.)

               19. Books, records and financial statements

    None       a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept or
               supervised the keeping of books of account and records of the debtor.

 NAME AND ADDRESS                                                                                          DATES SERVICES RENDERED
 Matthew Garrett                                                                                           11/20/06 to 9/30/08
 5165 Appennines Circle
 San Jose, CA 95138
 Susana Santos                                                                                             9/24/07 to present
 699 Coleman Avenue
 Menlo Park, CA 94025

    None       b. List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy case have audited the books
               of account and records, or prepared a financial statement of the debtor.

 NAME                                                  ADDRESS                                             DATES SERVICES RENDERED
 PricewaterhouseCoopers, LLp                           PO Box 31001-0068                                   2007
                                                       Pasadena, CA 91110-0068
 Ernst & Young, LLP                                    303 Almaden Blvd                                    2008
                                                       San Jose, CA 95110


Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                   Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                   Page 50 of
                                                                                   81
                                                                                                                                                             11
    None       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records
               of the debtor. If any of the books of account and records are not available, explain.

 NAME                                                                                        ADDRESS
 Susana Santos                                                                               699 Coleman Avenue
                                                                                             Menlo Park, CA 94025

    None       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was
               issued by the debtor within two years immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                                                  DATE ISSUED
 CFO2 Palo alto, L.P.
 100 Waugh Street, #600
 Houston, TX 77007
 Parexel
 David Skarinsky
 9920 Pacific Heights Blvd, #500
 San Diego, CA 92121
 Synergee LLC
 306 Upper Mountain Ave
 Montclair, NJ 07043
 Pinnacle Ventures
 130 Lytton Avenue, #220
 Palo Alto, CA 94301
 Capital Advisors Group
 Mike O'Brien, Debt Advisors Group
 29 Crafts Street
 Newton, MA 02458
 Hercules Technology Growth Capital
 W. Gustav "Gus" Johnson
 400 Hamilton Ave, #310
 Palo Alto, CA 94301
 CIT Healthcare
 Margaret Au Brown President
 505 Fifth Avenue
 New York, NY 10017
 Goldman Sachs
 Jon Symonds
 85 Broad Street
 New York, NY
 Caxton Advantage Venture Partners
 Jay Cecil
 500 Park Avenue,
 New York, NY 10022
 The Keffi Group Ltd.
 500 5th Avenue, 44th Floor
 New York, NY 10110
 Kearney Venture Partners
 Richard Spalding
 88 Kearney Street
 San Francisco, CA 94108
 Merrill Lynch
 DA Gros
 101 California Street,
 San Francisco, CA 94111




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                 Page 51 of
                                                                                   81
                                                                                                                                                           12

 NAME AND ADDRESS                                                                             DATE ISSUED
 Ridgeback Capital Investments, L.P.
 430 Park Avenue, 12th Floor
 New York, NY 10022
 Prospect Venture Partners III, L.P.
 435 Tasso Street, #200
 Palo Alto, CA 94301
 Wasatch
 Greg Bohlen
 150 Social Hall Avenue
 Salt Lake City, UT 84111
 New Enterprise Associates
 Frank M. Torti
 2490 Sand Hill Road
 Menlo Park, CA 94025
 TPG Pharma Partners
 Ted Breck
 345 California Street, #3300
 San Francisco, CA 94104
 Ridgeback Capital Investments, L.P.
 430 Park Avenue, 12th Floor
 New York, NY 10022
 Capital Advisors Group
 Mike O'Brien, Debt Advisors Group
 29 Crafts Street
 Newton, MA 02458
 Lighthouse Capital                                                                           issued via Capital Advisors

 GE Capital Financial                                                                         issued via Capital Advisors
 PO Box 960061
 Orlando, FL 32896-0061
 Bluecrest Capital                                                                            issued via Capital Advisors

 Oxford Capital                                                                               issued via Capital Advisors

 Bank of America
 Chris Giannotti
 Silicon Valley Bank

 Apothecary Capital

 Novo Ventures
 Heath Lukatch

               20. Inventories

    None       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory,
               and the dollar amount and basis of each inventory.

                                                                                                         DOLLAR AMOUNT OF INVENTORY
 DATE OF INVENTORY                                     INVENTORY SUPERVISOR                              (Specify cost, market or other basis)




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                Page 52 of
                                                                                   81
                                                                                                                                                               13
    None       b. List the name and address of the person having possession of the records of each of the two inventories reported in a., above.


                                                                                             NAME AND ADDRESSES OF CUSTODIAN OF INVENTORY
 DATE OF INVENTORY                                                                           RECORDS

               21 . Current Partners, Officers, Directors and Shareholders

    None       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


 NAME AND ADDRESS                                                               NATURE OF INTEREST                      PERCENTAGE OF INTEREST

    None       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns,
               controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                           OF STOCK OWNERSHIP
 Matthew Garrett                                                                VP & Chief Accounting Officer   Common .10%
 5165 Appennines Circle
 San Jose, CA 95138
 Ronald Gerber                                                                  CBO & CFO
 3249 Jackson Street
 San Francisco, CA 94118
 Mark Goldsmith                                                                 Chairman, CEO & President        Common 6.07%
 1024 Louise Street
 Menlo Park, CA 94025
 Donald J. Hayden, Jr.                                                          Board of Director
 9 Larkspur Lane
 Newtown, PA 18940
 Margaret Horn                                                                  SVP, Legal & Corp Dev -Gen
 21 Tulip Lane                                                                  Counsel
 San Carlos, CA 94070
 John Jermano                                                                   SVP Clinical Operations          Common .76%
 PO Box 2914
 El Granada, CA 94018
 Pablo Lapuerta                                                                 SVP Clinical Strategy & CMO
 757 College Avenue
 Menlo Park, CA 94025
 Linda McBride                                                                  Vice President, Regulatory
 19741 Scotland Drive                                                           Affairs
 Saratoga, CA 95070
 Robert Myers                                                                   Board of Director
 1165 Harker Avenue
 Palo Alto, CA 94303
 Prospect Venture Partners III, L.P.                                            Investor                        Stockholder Preferred 48.53%
 435 Tasso Street, #200
 Palo Alto, CA 94301
 Ridgeback Capital Investments, L.P.                                            Investor                        Stockholder Preferred 15.17%
 430 Park Avenue, 12th Floor
 New York, NY 10022
 The Keffi Group Ltd.                                                           Investor                        Stockholder Preferred 22.75%
 500 5th Avenue, 44th Floor
 New York, NY 10110
 Jide Zeitlin                                                                   Director
 500 5th Avenue
 New York, NY 10110


Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                   Page 53 of
                                                                                   81
                                                                                                                                                              14

                                                                                                           NATURE AND PERCENTAGE
 NAME AND ADDRESS                                                               TITLE                      OF STOCK OWNERSHIP
 James Tananbaum                                                                Director
 435 Tasso Street, #200
 Palo Alto, CA 94301

               22 . Former partners, officers, directors and shareholders

    None       a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately preceding the
               commencement of this case.

 NAME                                                              ADDRESS                                           DATE OF WITHDRAWAL

    None       b. If the debtor is a corporation, list all officers, or directors whose relationship with the corporation terminated within one year
               immediately preceding the commencement of this case.

 NAME AND ADDRESS                                                               TITLE                      DATE OF TERMINATION
 Matthew Garrett                                                                Vice President & Chief     September 30, 2008
 5165 Appennines Circle                                                         Accounting Officer
 San Jose, CA 95138

               23 . Withdrawals from a partnership or distributions by a corporation

    None       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation
               in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year immediately preceding the
               commencement of this case.

 NAME & ADDRESS                                                                                                       AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                      OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                         VALUE OF PROPERTY
 Matthew Garrett                                                                see attachment hereto
 5165 Appennines Circle
 San Jose, CA 95138
    VP & Chief Accounting Officer
 Ronald Gerber                                                                  see attachment hereto
 3249 Jackson Street
 San Francisco, CA 94118
    CBO & CFO
 Mark Goldsmith                                                                 see attachment hereto
 1024 Louise Street
 Menlo Park, CA 94025
    Chairman, CEO & President
 Donald J. Hayden, Jr.
 9 Larkspur Lane
 Newtown, PA 18940
    Member, Board of Directors
 Margaret Horn                                                                  see attachment hereto
 21 Tulip Lane
 San Carlos, CA 94070
    Senior VP, Legal & Corp. Dev.
 John Jermano                                                                   see attachment hereto
 PO Box 2914
 El Granada, CA 94018
    SVP Clinical Operations
 Pablo Lapuerta                                                                 see attachment hereto
 757 College Avenue
 Menlo Park, CA 94025
    SVP Clinical Strategy & CMO




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                  Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                  Page 54 of
                                                                                   81
                                                                                                                                                                     15

 NAME & ADDRESS                                                                                                              AMOUNT OF MONEY
 OF RECIPIENT,                                                                  DATE AND PURPOSE                             OR DESCRIPTION AND
 RELATIONSHIP TO DEBTOR                                                         OF WITHDRAWAL                                VALUE OF PROPERTY
 Linda McBride                                                                  see attachment hereto
 19741 Scotland Drive
 Saratoga, CA 95070
    VP, Regulatory Affairs

               24. Tax Consolidation Group.

    None       If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any consolidated
               group for tax purposes of which the debtor has been a member at any time within six years immediately preceding the commencement
               of the case.

 NAME OF PARENT CORPORATION                                                                                   TAXPAYER IDENTIFICATION NUMBER (EIN)

               25. Pension Funds.

    None       If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the debtor, as an
               employer, has been responsible for contributing at any time within six years immediately preceding the commencement of the case.

 NAME OF PENSION FUND                                                                                         TAXPAYER IDENTIFICATION NUMBER (EIN)


           DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP


I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any attachments thereto
and that they are true and correct to the best of my knowledge, information and belief.


 Date January 16, 2009                                                          Signature    /s/ Margaret A. Horn
                                                                                             Margaret A. Horn
                                                                                             Senior Vice President & Secretary

[An individual signing on behalf of a partnership or corporation must indicate position or relationship to debtor.]

                    Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571




Software Copyright (c) 1996-2007 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                          Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                         Page 55 of
                                                                                   81
Cogentus Pharmaceuticals, Inc
Section 5. 23: Withdrawals or distributions credited or given to insiders




                                                                                                                                 Loan (including                      Stock
                                                                                                                                 portion of loan                  Repurchase           Total
                                                                                                                                   & accrued        Business   (Unvested portion
                                         Check/                                                                                      Interest       Expense      of stock option
         Name               Date       Voucher No.          Salary          LTD Insurance        Accrued PTO         Bonus          forgiven)    Reimbursement      exercised)
Garrett, Matthew          1/15/08         20009       $        8,333.34     $        21.15                                                                                         $      8,354.49
V.P. & Chief Accounting Officer
                          1/31/08        050014       $        8,333.34     $        21.15                                                                                         $      8,354.49
5165 Appennines Circle, 1/31/08          050015                                                                  $   36,826.91                                                     $     36,826.91
San Jose, CA 95138        2/15/08        070008       $        8,333.34     $       139.87                                                                                         $      8,473.21
                          2/29/08        090010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          3/13/08          2386                                                                                                 $       131.00                     $        131.00
                          3/15/08        110010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          3/31/08        130010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          4/15/08        150010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          4/15/08          2470                                                                                                 $       460.00                     $        460.00
                          4/30/08        180010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          5/15/08        200010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          5/22/08          2576                                                                                                 $       975.81                     $        975.81
                          5/31/08        220010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          6/15/08        240011       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          6/18/08          2658                                                                                                 $       101.61                     $        101.61
                          6/26/08          2674                                                                                                 $       200.00                     $        200.00
                          6/30/08        260012       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          7/15/08        280011       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          7/31/08        310010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          8/15/08        330009       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          8/31/08        350010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          9/15/08        370010       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          9/30/08        390008       $        8,333.34     $        50.83                                                                                         $      8,384.17
                          9/30/08          2901                                              $       11,153.40                                                                     $     11,153.40
                         10/13/08          2933                                                                                                                   $     1,895.90   $      1,895.90
                                                      $      150,000.12     $       944.62   $       11,153.40   $   36,826.91   $         -    $      1,868.42   $     1,895.90   $    202,689.37


Gerber, Ronald            1/15/08        020008       $       13,125.00     $        50.83   $             -                                                                       $     13,175.83
CBO & CFO                 1/18/08         2220                                                                                                  $       269.12                     $        269.12
3249 Jackson Street       1/31/08        050012       $       13,125.00     $        50.83                                                                                         $     13,175.83
San Francisco, CA 94118   1/31/08        050013                                                                  $   69,720.57                                                     $     69,720.57
                          2/15/08        070007       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          2/29/08        090009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          3/15/08        110009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          3/31/08        130009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          4/4/08          2449                                                                                                  $      2,301.69                    $      2,301.69
                          4/15/08        150009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          4/30/08        180009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          5/8/08          2530                                                                                                  $     10,084.75                    $     10,084.75
                          5/15/08        200009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          5/15/08         2558                                                                                                  $      2,011.44                    $      2,011.44
                          5/22/08         2584                                                                                                  $        829.30                    $        829.30
                          5/31/08        220009       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          6/5/08          2618                                                                                                  $      3,052.77                    $      3,052.77
                          6/15/08        240010       $       13,125.00     $        50.83                                                                                         $     13,175.83
                          6/18/08         2662                                                                                                  $     11,622.13                    $     11,622.13
                          6/30/08        260011       $       13,125.00     $        50.83                                                                                         $     13,175.83




                           Case: 09-50250                    Doc# 1             Filed: 01/16/09 Entered: 01/16/09 14:22:43                                        Page 56 of
                                                                                              81
                       7/15/08    280010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       7/29/08     2721                                                                                      $    56,389.09              $    56,389.09
                       7/31/08    310009   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       8/15/08    330008   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       8/21/08     2813                                                                                      $     2,199.83              $     2,199.83
                       8/31/08    350009   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       9/15/08    370009   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       9/22/08     2881                                                                                      $    25,708.30              $    25,708.30
                       9/30/08    390007   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       10/10/08    2929                                                                                      $     5,943.52              $     5,943.52
                       10/15/08   410010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       10/16/08    2950                                                                                      $    12,153.57              $    12,153.57
                       10/30/08    2968                                                                                      $     4,677.82              $     4,677.82
                       10/31/08   440010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       11/15/08   460010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       11/30/08   480010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       12/15/08   500010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                       12/15/08                                                                              $   39,318.75                               $    39,318.75
                       12/31/08   510010   $    13,125.00   $      50.83                                                                                 $    13,175.83
                        1/6/09    010010   $     4,846.08                   $   12,418.08                                                                $    17,264.16
                       1/14/09    030010   $     3,634.56                                                                                                $     3,634.56
                                           $   323,480.64   $    1,219.92   $   12,418.08   $    69,720.57   $   39,318.75   $   137,243.33   $      -   $   583,401.29




Goldsmith, Mark         1/11/08    2177                                                                                      $     4,002.01              $     4,002.01
Chairman, CEO & President
                       1/15/08    050008   $    17,708.33   $      75.00                                                                                 $    17,783.33
1024 Louise Street     1/18/08     2215                                                                                      $      261.38               $       261.38
Menlo Park, CA 94025   1/31/08    050008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       1/31/08    050009                                                    $   143,797.38                                               $   143,797.38
                       2/15/08    070005   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       2/28/08     2322                                                                                      $      959.39               $       959.39
                       2/29/08    090007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       3/15/08    110007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       3/20/08     2405                                                                                      $      952.49               $       952.49
                       3/31/08    130007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       4/15/08    150007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       4/30/08    180007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       5/15/08    200007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       5/15/08     2550                                                                                      $      181.49               $       181.49
                       5/31/08    220007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       6/15/08    240008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       6/30/08    260008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       7/15/08    280008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       7/29/08     2720                                                                                      $      340.01               $       340.01
                       7/31/08    310007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       8/15/08    330006   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       8/31/08    350006   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       9/15/08    370007   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       9/30/08    390005   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       10/15/08   410008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       10/23/08    2956                                                                                      $      168.44               $       168.44
                       10/31/08   440008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       11/15/08   460008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       11/26/08    3036                                                                                      $      355.92               $       355.92
                       11/30/08   480008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       12/15/08   500008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                       12/31/08   510008   $    17,708.33   $      75.00                                                                                 $    17,783.33
                        1/6/09    010008   $     6,538.56                   $   32,692.80                                                                $    39,231.36




                        Case: 09-50250         Doc# 1           Filed: 01/16/09 Entered: 01/16/09 14:22:43                                    Page 57 of
                                                                              81
                          1/14/09      030008   $     3,903.92                                                                                       $     3,903.92
                                                $   435,442.40   $    1,800.00   $   32,692.80   $   143,797.38   $   -   $    7,221.13   $      -   $   620,953.71


Horn, Margaret            1/11/08       2175                                                                              $    3,775.66              $     3,775.66
SVP, Legal & Corp Dev - Gen
                         1/15/08
                             Counsel   020011   $    13,125.00   $      51.00                                                                        $    13,176.00
21 Tulip Lane            1/18/08        2214                                                                              $      83.25               $        83.25
San Carlos, CA 94070     1/31/08       050018   $    13,125.00   $      51.00                                                                        $    13,176.00
                         1/31/08       050019                                                    $    34,011.51                                      $    34,011.51
                         1/31/08        2247                                                                              $     138.50               $       138.50
                         2/15/08       070010   $    13,125.00   $      51.00                                                                        $    13,176.00
                         2/28/08        2321                                                                              $     176.00               $       176.00
                         2/29/08       090012   $    13,125.00   $      51.00                                                                        $    13,176.00
                         3/15/08       110012   $    13,125.00   $      85.00                                                                        $    13,210.00
                         3/20/08        2404                                                                              $      65.73               $        65.73
                         3/31/08       130012   $    13,125.00   $      85.00                                                                        $    13,210.00
                          4/4/08        2439                                                                              $     296.30               $       296.30
                         4/15/08       150012   $    13,125.00   $      85.00                                                                        $    13,210.00
                         4/30/08       180012   $    13,125.00   $      85.00                                                                        $    13,210.00
                          5/1/08        2496                                                                              $    1,509.72              $     1,509.72
                          5/8/08        2523                                                                              $       46.73              $        46.73
                         5/15/08       200012   $    13,125.00   $      85.00                                                                        $    13,210.00
                         5/31/08       220012   $    13,125.00   $      85.00                                                                        $    13,210.00
                         6/13/08        2634                                                                              $    5,487.14              $     5,487.14
                         6/15/08       240014   $    13,125.00   $      85.00                                                                        $    13,210.00
                         6/18/08        2657                                                                              $     286.80               $       286.80
                         6/30/08       260015   $    13,125.00   $      85.00                                                                        $    13,210.00
                         7/10/08        3309                                                                              $     181.58               $       181.58
                         7/15/08       280014   $    13,125.00   $      85.00                                                                        $    13,210.00
                         7/31/08       310013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         8/15/08       330012   $    13,125.00   $      85.00                                                                        $    13,210.00
                         8/21/08        2810                                                                              $     927.30               $       927.30
                         8/31/08       350013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         9/15/08       370013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         9/30/08       390011   $    13,125.00   $      85.00                                                                        $    13,210.00
                         10/15/08      410013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         10/16/08       2943                                                                              $    3,869.98              $     3,869.98
                         10/30/08       2964                                                                              $    2,501.00              $     2,501.00
                         10/31/08      440013   $    13,125.00   $      85.00                                                                        $    13,210.00
                          11/7/08       2988                                                                              $     513.45               $       513.45
                         11/15/08      460013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         11/30/08      480013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         12/5/08        3045                                                                              $      44.98               $        44.98
                         12/15/08      500013   $    13,125.00   $      85.00                                                                        $    13,210.00
                         12/19/08       3060                                                                              $     128.00               $       128.00
                         12/31/08      510013   $    13,125.00   $      85.00                                                                        $    13,210.00
                          1/6/09       010013   $     4,846.08                   $    1,821.82                                                       $     6,667.90
                         1/14/09       030013   $     3,634.56                                                                                       $     3,634.56
                                                $   323,480.64   $    1,904.00   $    1,821.82   $    34,011.51   $   -   $   20,032.12   $      -   $   381,250.09


Jermano, John             1/15/08      020002   $    11,041.67   $      75.00    $         -                                                         $    11,116.67
SVP Clinical Operations   1/31/08      050003   $    11,041.67   $      75.00                                                                        $    11,116.67
P.O. Box 2914             1/31/08      050004                                                    $    77,644.58                                      $    77,644.58
El Granada, CA 94018      2/15/08      070002   $    11,041.67   $      75.00                                                                        $    11,116.67
                          2/29/08      090004   $    11,041.67   $      75.00                                                                        $    11,116.67
                          3/15/08      110004   $    11,041.67   $      75.00                                                                        $    11,116.67
                          3/31/08      130004   $    11,041.67   $      75.00                                                                        $    11,116.67
                          4/15/08      150004   $    11,041.67   $      75.00                                                                        $    11,116.67
                          4/15/08       2464                                                                              $    6,642.77              $     6,642.77




                          Case: 09-50250            Doc# 1           Filed: 01/16/09 Entered: 01/16/09 14:22:43                           Page 58 of
                                                                                   81
                         4/30/08     180004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         5/15/08     200004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         5/31/08     220004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         6/15/08     240004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         6/30/08     260004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         7/15/08     280004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         7/31/08     310003    $    11,041.67   $      75.00                                                                       $    11,116.67
                         8/15/08     330003    $    11,041.67   $      75.00                                                                       $    11,116.67
                         8/31/08     350004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         9/15/08     370004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         9/16/08      2860                                                                              $    4,652.78              $     4,652.78
                         9/30/08    87011321   $    11,041.67   $      75.00                                                                       $    11,116.67
                         10/15/08    410004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         10/31/08    440004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         11/15/08    460004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         11/30/08    480004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         12/15/08    500004    $    11,041.67   $      75.00                                                                       $    11,116.67
                         12/31/08    510004    $    11,041.67   $      75.00                                                                       $    11,116.67
                          1/6/09     010004    $     4,076.80                   $   13,614.84                                                      $    17,691.64
                         1/14/09     030004    $     3,057.60                                                                                      $     3,057.60
                                               $   272,134.48   $    1,800.00   $   13,614.84   $   77,644.58   $   -   $   11,295.55   $      -   $   376,489.45


Lapuerta, Pablo           1/11/08    2184                                                                               $     632.10               $       632.10
SVP Clinical Strategy & CMO
                         1/15/08    020004     $    12,500.00   $      50.83                                                                       $    12,550.83
757 College Avenue       1/18/08     2217                                                                               $      84.00               $        84.00
Menlo Park, CA 94025     1/25/08     2232                                                                               $     169.95               $       169.95
                         1/31/08    050006     $    12,500.00   $      50.83                    $   42,584.64                                      $    55,135.47
                         1/31/08    050007                                                                                                         $          -
                         2/15/08    070004     $    12,500.00   $      50.83                                                                       $    12,550.83
                         2/28/08     2327                                                                               $   36,407.65              $    36,407.65
                         2/29/08    090006     $    12,500.00   $      50.83                                                                       $    12,550.83
                         3/13/08     2389                                                                               $      25.00               $        25.00
                         3/15/08    110006     $    12,500.00   $      50.83                                                                       $    12,550.83
                         3/20/08     2408                                                                               $     613.21               $       613.21
                         3/31/08    130006     $    12,500.00   $      50.83                                                                       $    12,550.83
                          4/4/08     2443                                                                               $    2,105.96              $     2,105.96
                         4/15/08     2476                                                                               $    1,754.49              $     1,754.49
                         4/15/08    150006     $    12,500.00   $      50.83                                                                       $    12,550.83
                         4/30/08    180006     $    12,500.00   $      50.83                                                                       $    12,550.83
                          5/8/08     2528                                                                               $    3,993.06              $     3,993.06
                         5/15/08     2553                                                                               $    8,198.12              $     8,198.12
                         5/15/08    200006     $    12,500.00   $      50.83                                                                       $    12,550.83
                         5/31/08    220006     $    12,500.00   $      50.83                                                                       $    12,550.83
                          6/5/08     2613                                                                               $    3,048.18              $     3,048.18
                         6/15/08    240007     $    12,500.00   $      75.00                                                                       $    12,575.00
                         6/26/08     2677                                                                               $    1,551.66              $     1,551.66
                         6/30/08    260007     $    12,500.00   $      75.00                                                                       $    12,575.00
                         7/10/08     3313                                                                               $     537.95               $       537.95
                         7/15/08    280007     $    12,500.00   $      75.00                                                                       $    12,575.00
                         7/31/08    310006     $    12,500.00   $      75.00                                                                       $    12,575.00
                          8/7/08     2781                                                                               $     660.00               $       660.00
                         8/15/08    330005     $    12,500.00   $      75.00                                                                       $    12,575.00
                         8/31/08    350006     $    12,500.00   $      75.00                                                                       $    12,575.00
                          9/4/08     2848                                                                               $    2,733.38              $     2,733.38
                         9/15/08    370006     $    12,500.00   $      75.00                                                                       $    12,575.00
                         9/30/08    390004     $    12,500.00   $      75.00                                                                       $    12,575.00
                         10/7/08     2917                                                                               $     405.43               $       405.43
                         10/15/08   410007     $    12,500.00   $      75.00                                                                       $    12,575.00
                         10/23/08    2958                                                                               $    1,422.92              $     1,422.92




                         Case: 09-50250            Doc# 1           Filed: 01/16/09 Entered: 01/16/09 14:22:43                          Page 59 of
                                                                                  81
                         10/31/08    440007     $    12,500.00   $      75.00                                                                               $    12,575.00
                          11/7/08     2992                                                                                       $    1,059.39              $     1,059.39
                         11/15/08    460007     $    12,500.00   $      75.00                                                                               $    12,575.00
                         11/21/08     3032                                                                                       $    1,171.82              $     1,171.82
                         11/30/08    480007     $    12,500.00   $      75.00                                                                               $    12,575.00
                         12/15/08    500007     $    12,500.00   $      75.00                                                                               $    12,575.00
                         12/15/08                                                                               $    78,727.50                              $    78,727.50
                         12/31/08    510007     $    12,500.00   $      75.00                                                                               $    12,575.00
                          1/6/09     010007     $     4,615.36                   $   7,932.65                                                               $    12,548.01
                         1/14/09     030007     $     3,461.52                                                                                              $     3,461.52
                                                $   308,076.88   $    1,558.30   $   7,932.65   $   42,584.64   $    78,727.50   $   66,574.27   $      -   $   505,454.24


McBride, Linda            3/12/08      2385                                                                                      $      53.47               $        53.47
Vice President, Regulatory4/15/08
                           Affairs     2469                                                                                      $     335.73               $       335.73
19741 Scotland Drive      4/30/08    85598328   $     2,769.23                                                                                              $     2,769.23
Saratoga, CA 95070        5/8/08       2522                                                                                      $     506.02               $       506.02
                          5/15/08    85734790        10,000.00   $         -                                                                                $    10,000.00
                          5/22/08      2573                                                                                      $    5,989.31              $     5,989.31
                          5/31/08    85877543        10,000.00   $         -                                                                                $    10,000.00
                          6/13/08      2633                                                                     $   150,000.00                              $   150,000.00
                          6/15/08     240005         10,000.00   $         -                                                                                $    10,000.00
                          6/26/08      2673                                                                                      $    3,196.78              $     3,196.78
                          6/30/08     260005         10,000.00   $     220.00                                                                               $    10,220.00
                          7/10/08      3308                                                                                      $    4,777.10              $     4,777.10
                          7/15/08     280005         10,000.00   $      55.00                                                                               $    10,055.00
                          7/29/08      2719                                                                                      $     652.06               $       652.06
                          7/31/08      2758                                                                                      $     205.96               $       205.96
                          7/31/08     310004         10,000.00   $      55.00                                                                               $    10,055.00
                          8/15/08     330004         10,000.00   $      55.00                                                                               $    10,055.00
                          8/31/08     350005         10,000.00   $      55.00                                                                               $    10,055.00
                          9/4/08       2843                                                                                      $   39,725.86              $    39,725.86
                          9/15/08     370005         10,000.00   $      55.00                                                                               $    10,055.00
                          9/30/08    87011322        10,000.00   $      55.00                                                                               $    10,055.00
                         10/15/08     410005         10,000.00   $      55.00                                                                               $    10,055.00
                         10/23/08      2955                                                                                      $    1,189.85              $     1,189.85
                         10/31/08     440005         10,000.00   $      55.00                                                                               $    10,055.00
                          11/7/08      2986                                                                                      $    1,761.62              $     1,761.62
                         11/15/08     460005         10,000.00   $      55.00                                                                               $    10,055.00
                         11/30/08     480005         10,000.00   $      55.00                                                                               $    10,055.00
                         12/15/08     500005         10,000.00   $      55.00                                                                               $    10,055.00
                         12/31/08     510005         10,000.00   $      55.00                                                                               $    10,055.00
                          1/6/09      010005          3,692.16                                                                                              $     3,692.16
                          1/14/09     030005          2,769.12                                                                                              $     2,769.12
                                                $   169,230.51   $     880.00    $        -     $         -     $   150,000.00   $   58,393.76   $      -   $   378,504.27




                          Case: 09-50250            Doc# 1           Filed: 01/16/09 Entered: 01/16/09 14:22:43                                  Page 60 of
                                                                                   81
                                                                 United States Bankruptcy Court
                                                                        Northern District of California
 In re       Cogentus Pharmaceuticals, Inc.                                                                         Case No.
                                                                                       Debtor(s)                    Chapter    7


                                                     STATEMENT PURSUANT TO RULE 2016(B)
The undersigned, pursuant to Rule 2016(b), Bankruptcy Rules, states that:

1.           The undersigned is the attorney for the debtor(s) in this case.

2.           The compensation paid or agreed to be paid by the debtor(s), to the undersigned is:
              a)      For legal services rendered or to be rendered in contemplation of and in
                      connection with this case                                                                                $              15,000.00
              b)      Prior to the filing of this statement, debtor(s) have paid                                               $              15,000.00
              c)      The unpaid balance due and payable is                                                                    $                   0.00

3.           $ 299.00            of the filing fee in this case has been paid.

4.           The Services rendered or to be rendered include the following:
             a.     Analysis of the financial situation, and rendering advice and assistance to the debtor(s) in determining
                    whether to file a petition under title 11 of the United States Code.
             b.     Preparation and filing of the petition, schedules, statement of affairs and other documents required by the
                    court.
             c.     Representation of the debtor(s) at the meeting of creditors.

5.           The source of payments made by the debtor(s) to the undersigned was from earnings, wages and compensation
             for services performed, and

6.           The source of payments to be made by the debtor(s) to the undersigned for the unpaid balance remaining, if any,
             will be from earnings, wages and compensation for services performed, and

7.           The undersigned has received no transfer, assignment or pledge of property from debtor(s) except the following
             for the value stated:

8.           The undersigned has not shared or agreed to share with any other entity, other than with members of
             undersigned's law firm, any compensation paid or to be paid except as follows:

 Dated: January 16, 2009                                                               Respectfully submitted,

                                                                                       /s/ William C. Lewis, Esq.
                                                                                       Attorney for Debtor: William C. Lewis, Esq. 77193
                                                                                       Law Offices of William C. Lewis
                                                                                       510 Waverley St.
                                                                                       Palo Alto, CA 94301
                                                                                       650-322-3300 Fax: 650-327-9720
                                                                                       wclewis@williamclewis.com




Software Copyright (c) 1996-2008 Best Case Solutions - Evanston, IL - (800) 492-8037                                                     Best Case Bankruptcy

              Case: 09-50250                      Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                     Page 61 of
                                                                                  81
                                                                  United States Bankruptcy Court
                                                                         Northern District of California
 In re       Cogentus Pharmaceuticals, Inc.                                                                       Case No.
                                                                                             Debtor(s)            Chapter    7




                                                             CREDITOR MATRIX COVER SHEET



         I declare that the attached Creditor Mailing Matrix, consisting of 16 sheets, contains the correct, complete and current
names and addresses of all priority, secured and unsecured creditors listed in debtor's filing and that this matrix conforms with the
Clerk's promulgated requirements.




 Date:      January 16, 2009                                                    /s/ William C. Lewis, Esq.
                                                                                Signature of Attorney
                                                                                William C. Lewis, Esq. 77193
                                                                                Law Offices of William C. Lewis
                                                                                510 Waverley St.
                                                                                Palo Alto, CA 94301
                                                                                650-322-3300 Fax: 650-327-9720




Software Copyright (c) 1996-2005 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                             Best Case Bankruptcy




              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                  Page 62 of
                                                                                   81
}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




    Aclairo Pharmaceutical Development
    Group (Hilary Sheevers)
    PO Box 11308
    Mc Lean, VA 22102



    ACM Clinical Trials Division
    P.O. Box 26290
    Rochester, NY 14626



    ACM Clinical Trials Division
    PO Box 26290
    Rochester, NY 14626



    ACM Clinical Trials Division
    PO Box 26290
    Rochester, NY 14626



    Alphagraphics
    1294 Anvilwood Court
    Sunnyvale, CA 94089



    Angel Lanas
    C/La Ontina
    Aibar, Navarra
    Spain



    Aqua Prix
    PO Box 644006
    Cincinnati, OH 45264-4006



    ATT Mobility
    PO Box 6463
    Carol Stream, IL 60197




    Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 63 of
                                            81
Bay Shred
PO Box 1818
Pacifica, CA 94044



Biosoteria, Inc.
958 Oak Vista Court
Lafayette, CA 94549



Bloomberg Finance LP
PO Box 30244
Hartford, CT 06150-0244



Bonnie Horner
95 Main Street, #10
Los Altos, CA 94022



Byron Cryer
627 Kessler Lake Dr.
Dallas, TX 75208



CA-Attorney General
1300 I Street
Sacramento, CA 95814



CA-Board of Equalization
Attn: Collection Unit Mic 29
PO Box 942879
Sacramento, CA 94279-0001



CA-Dept of Motor Vehicles
PO Box 932382
Sacramento, CA 94244-3820




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 64 of
                                        81
CA-EDD
Bankruptcy Special Procedures
Group Mic 92-E
PO Box 826900
Sacramento, CA 94280-0001



CA-Franchise Tax Board
Bankruptcy Unit MS G-11
PO Box 2952
Sacramento, CA 95812-2952



Carl Zlatchin, PH.D
2456 Bush Street
San Francisco, CA 94115



Catalent Pharma Solutions
PO Box 828771
Philadelphia, PA 19182-8771



CF02 Palo Alto, L.P.
PO Box 201939
Dept. 93929
Dallas, TX 75320-1939



CH Reynolds Electric Inc.
1281 Wayne Avenue
San Jose, CA 95131



CIT Technology Finance Serv., Inc.
PO Box 550599
Jacksonville, FL 32255



Colice Pharmaceutical Consulting, LLC
808 Edelblut Drive
Silver Spring, MD 20901




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 65 of
                                        81
Constella Group Ltd.
20 Milton Park
Abingdon,
Oxfordshire, OX14 4SH, UK



Corealis Pharma
141, Avenue President Kennedy, #SB6520
Montreal, Quebec
H2X 3YZ Canada



Corealis Pharma
141 Avenue President Kennedy,
SB6520
Monteal, Quebec



Covance
PO Box 820511
Philadelphia, PA 19182



David Stout
P.O. Box 342
Freedom, WY 83120



Deepak Bhat
Cleveland Clinical
9500 Euclid Avenue
Desk F25
Cleveland, OH 44195



Donald J. Hayden, Jr.
9 Larkspur Lane
Newton, PA 18940



Dow Pharmaceutical Sciences
File 74444
PO Box 60000
San Francisco, CA 94160




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 66 of
                                        81
eFax Corporation
c/o 2 Global Communications, Inc.
PO Box 51873
Los Angeles, CA 90051



eMag Solutions, LLC
PO Box 64911
Baltimore, MD 21264-4911



Facillicorp
1631 Willow Street, #10
San Jose, CA 95125



Facillicorp
1631 Willow Street, #10
San Jose, CA 95125



FDA Ready Consulting
8 Decelle Court
Alameda, CA 94501



Federal Express
PO Box 7221
Pasadena, CA 91109



Geoffery Meyerson
1640 Oakwood Drive #302
Penn Valley, PA 19072



Geoffrey Meyerson
1640 Oakwood Drive, #10
Penn Valley, PA 19072




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 67 of
                                        81
Guirag Proochikian
7812 ydal Terrace
Rockville, MD 20855



Heart Research Consulting (Kim Fox/
Karen Summers)
88 Harley Street
London, W18 7HR, UK



HellerEhrman LLP
333 Bush Street
San Francisco, CA 94101



Hogan & Hartson
8300 Greensboro Drive, #1100
Mc Lean, VA 22102



Hyman, Phelps & McNamara, P.C.
700 13th Street, N.W. #1200
Washington, DC 20005



ICON
2 Grand Central Tower
140 East 45th Street, Suite 12A
New York, NY 10017



Indo American Society of
Interventional Cardiology
185 Shore Drive South
Miami, FL 33133



InfoPartners
985 Industrial Road, #202
San Carlos, CA 94070




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 68 of
                                        81
InSciTech
1215 Morris Avenue
Dorval, Quebec, H9S 1Z8, Canada,



Internal Revenue Service
(San Jose Cases)
Insolvency, MS 5420/5430
55 S. Market Street
San Jose, CA 95113



Iris Latorre, PharmD.
21 Sullivan Drive
Basking Ridge, NJ 07920



Iron Mountain Live Vault
PO Box 27128
New York, NY 10087-7128



James Donohue
UNC School of Medicine
Bioinfomatics Bldg., CB# 7020
130 Manson Farm Rd, Rm 4124
Chapel Hill, NC 27599



John Jermano
PO Box 2914
El Granada, CA 94018



Jones Day
222 East 41st Street
New York, NY 10017-6702



Jordan Limited
20-22 Bedford Row
London WC1R, 4JS




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 69 of
                                        81
KABS Pharmaceutical Services
4500 de Tonnancour St
Hubert, Quebec J3Y 9G2 Canada



Konica Minolta Business Solutions
Dept LA22988
Pasadena, CA 91185-2988



Leslie Frankel
1886 Edmond Road
Abington, PA 19001



Lewis Rubin
6404 Avenida Wilfredo
La Jolla, CA 92037



Linda McBride
19741 Scotland Drive
Saratoga, CA 95070



Lisa Jennings
5039 Cole Road
Memphis, TN 38117



Live Meeting
One Microsoft Way
Redmond, WA 98052



Marc Cohen
32 Westmount Drive
Livingston, NJ 07039




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 70 of
                                        81
Margaret Horn
21 Tulip Lane
San Carlos, CA 94070



Mariann Caprino
261 School House Road
Hudson, NY 12534



Marianne C. Mann, MD PC
7105 Bifer Lane
Highland, MD 20777



Marianne Mann, MD, PC
7105 Biter Lane
Highland, MD 20777



Mark Goldsmith
1024 Louise Street
Menlo Park, CA 94025



Martin Ogeltree
646 S. State Street
Newtown, PA 18940



Med Script Association
176 Chemlin St.-Henri, Ste-Marthe
Quebec, Canada
JOP 1W0



Med-Script Association
176 Chemlin St-Henri, Ste-Marthe
Quebec, Canada
JOP 1W0




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 71 of
                                        81
Michaels & associates
32108 Alvarado Blvd, #200
Union City, CA 94587



Morgan Lewis
Dave Breznee
One Market, Spear St Tower
San Francisco, CA 94105



Morris, Nichols, Arsht & Tunnel, LLP
PO Box 1347
Wilmington, DE 19899



Murli Krishna
D-98, Ranjangaon M.I.D.C., Tal-Shirur
Distpune, Pin-412 209 India



Myrna Dolovich
391 Queen St. South
Hamilton ON
L8P 3TG, Canada



O'Melveny & Myers, LLP
2765 Sand Hill Road
Menlo Park, CA 94025



Office Depot
PO Box 70025
Los Angeles, CA 90074-0025



Osbakken Consulting
29 W. Walnut Lane
Philadelphia, PA 19144




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 72 of
                                        81
Pablo Lapuerta
757 College Avenue
Menlo Park, CA 94025



Parexel
5239 Paysphere Circle
Chicago, IL 60674



Parexel
200 West Street
Waltham, MA 02451



Patheon, Inc.
7070 Mississauga Road, #350
Mississauga, Ontario, Canada



Paul Gurbel
Platelet and Thrombosis Research LLC
Sainao Hospital
2401 W. Belvedere Avenue
Baltimore, MD 21215



Peninsula Communications
562 E. Weddell Drive
Suite 2
Sunnyvale, CA 94089



Pension Dynamics
2300 Contra Costa Blvd.
Suite 400
Pleasant Hill, CA 94523



PharmaDelivery Solutions
Dalheim, Low Road, Grimston
Norfolk, PE 321AF
UK




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 73 of
                                        81
Pinnacle Ventures
130 Lytton Avenue, #220
Palo Alto, CA 94301



Pitney Bowes
PO Box 856042
Louisville, KY 40285-6042



Premier Global Services
PO Box 404351
Atlanta, GA 30384-6216



Prospect Venture Partners III, L.P.
435 Tasso Street, #200
Palo Alto, CA 94301



QuadraMed
MG House, Rumbolds Hill
Midhurst, West Sussex, GU29 9BY UK



Quality Assurance Systems, Inc.
30848 Villa Toscana
Bonsall, CA 92003-6216



Quintilles, Inc
PO Box 601070
Charlotte, NC 28260-1070



Raymond Lipicky
15201 Apricot Lane
North Patomac, MD 20878




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 74 of
                                        81
Regulatory Professionals, Inc
730 Kirkwall Place
Milpitas, CA 95035



Richard Becker
2400 Pratt Street
Durham, NC 27715



Ridgeback Capital Investments, L.P.
430 Park Avenue, 12th Floor
New York, NY 10022



Robert R. Fenichel
4121 Burkehill Road
West Vancouver, BC V7V 3M3
Canada



Ronald Gerber
3249 Jackson Street
San Francisco, CA 94118



Santa Clara County Assessor
70 West Hedding Street
East Wing
San Jose, CA 95110



SAS Biomedic Insure
PIBS-CP 142 56038
Vannes Cedex France



Steven Steinhubl
1413 Brianna Ct.
Lexington, KY 40513




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 75 of
                                        81
Susan Schrader
8 Ridge Court
Redwood City, CA 94062



Susan Schrader
8 Ridge Court
Woodside, CA 94062



Synergee LLC
306 Upper Mountain Ave
Upper Montclair, NJ 07043



Telepacific Communications
515 S. Flower St.
47th Floor
Los Angeles, CA 90071



Telepacific Communications
PO Box 526015
Sacramento, CA 95852-6015



Teresa De Marco
Division of Cardiology
505 Parnassus Avenue, 1180M
San Francisco, CA 94143



The Keffi Group Ltd.
500 5th Avenue, 44th Floor
New York, NY 10110



The Weinberg Group, Inc.
1220 19th Street, NW, Suite 301
Washington, DC 20036




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 76 of
                                        81
Thomas H. Rossing
95 Rowell Drive
Lyons, CO 80540



Thomas Schnitzer
910 S. Laflin Street
Chicago, IL 60607



US-Attorney
650 Capital Mall #3305
Sacramento, CA 95814



US-Attorney General
Dept. of Justice Tax Div
Main Justice Building
10th St. & Constitution Ave. NW
Washington, DC 20530



US-Attorney Tax Division
450 Golden Gate Ave 10th Fl
PO Box 36055
San Francisco, CA 94102



US-Department of Justice
950 Pennsylvania Avenue NW
Washington, DC 20530-0001



US-Dept. of Justice
Attorney General Civil
Trial Section - Western Region
P.O. Box 683 Ben Franklin Station
Washington, DC 20044



US-IRS
PO Box 21126
Stop N781
Philadelphia, PA 19114




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 77 of
                                        81
Verizon Wireless
PO Box 96088
Bellevue, WA 98009



Woodfield Clinical Consulting LLC
5481 South Acacia Creek Drive
Green Valley, AZ 85614-8098



Workspace Innovations
240 El Camino Real
Belmont, CA 94002




Case: 09-50250   Doc# 1   Filed: 01/16/09 Entered: 01/16/09 14:22:43   Page 78 of
                                        81
                                                                  United States Bankruptcy Court
                                                                         Northern District of California
 In re       Cogentus Pharmaceuticals, Inc.                                                                Case No.
                                                                                             Debtor(s)     Chapter    7




                                              CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification
or recusal, the undersigned counsel for Cogentus Pharmaceuticals, Inc. in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:




Software Copyright (c) 1996-2004 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                      Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43           Page 79 of
                                                                                   81
 BBT Fund, L.P.
 201 Main Street, #3200
 Fort Worth, TX 76102
 Berner (Consultant), Bret
 424 Lee Avenue
 Half Moon Bay, CA 94019
 Gallivan, Gerry
 4021 Gilf Shore Blvd., N, #904
 Naples, FL 34103-2233
 Matthew Garrett
 5165 Appennines Circle
 San Jose, CA 95138
 Mark Goldsmith
 1024 Louise Street
 Menlo Park, CA 94025
 Gunderson, Bob
 155 Constitution Drive
 Menlo Park, CA 94025
 John Jermano
 PO Box 2914
 El Granada, CA 94018
 Pinnacle Ventures
 130 Lytton Avenue, #220
 Palo Alto, CA 94301
 Prospect Venture Partners III, L.P.
 435 Tasso Street, #200
 Palo Alto, CA 94301
 Ridgeback Capital Investments, L.P.
 430 Park Avenue, 12th Floor
 New York, NY 10022
 Samudovsky, Barbara
 1012 E. State Street
 Boise, ID 83712
 Sheevers, Hilary
 9424 Overlea Drive
 Rockville, MD 20850
 The Keffi Group Ltd.
 500 5th Avenue, 44th Floor
 New York, NY 10110




    None [Check if applicable]




 January 16, 2009                                                            /s/ William C. Lewis, Esq.
 Date                                                                        William C. Lewis, Esq. 77193
                                                                             Signature of Attorney or Litigant
                                                                             Counsel for Cogentus Pharmaceuticals, Inc.
                                                                             Law Offices of William C. Lewis
                                                                             510 Waverley St.
                                                                             Palo Alto, CA 94301
                                                                             650-322-3300 Fax:650-327-9720
                                                                             wclewis@williamclewis.com

Software Copyright (c) 1996-2004 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                      Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43           Page 80 of
                                                                                   81
                                                                  United States Bankruptcy Court
                                                                         Northern District of California
 In re       Cogentus Pharmaceuticals, Inc.                                                                          Case No.
                                                                                             Debtor(s)               Chapter      7



                                                       BUSINESS INCOME AND EXPENSES
         FINANCIAL REVIEW OF THE DEBTOR'S BUSINESS (NOTE: ONLY INCLUDE information directly related to the business operation.)
PART A - GROSS BUSINESS INCOME FOR PREVIOUS 12 MONTHS:
          1. Gross Income For 12 Months Prior to Filing:                                                         $         493,250.03
PART B - ESTIMATED AVERAGE FUTURE GROSS MONTHLY INCOME:
          2. Gross Monthly Income                                                                                                        $                 0.00
PART C - ESTIMATED FUTURE MONTHLY EXPENSES:
          3. Net Employee Payroll (Other Than Debtor)                                                            $         231,000.00
          4. Payroll Taxes                                                                                                      7,309.00
          5. Unemployment Taxes                                                                                                   48.00
          6. Worker's Compensation                                                                                              1,358.00
          7. Other Taxes                                                                                                         841.00
          8. Inventory Purchases (Including raw materials)                                                                            0.00
          9. Purchase of Feed/Fertilizer/Seed/Spray                                                                                   0.00
          10. Rent (Other than debtor's principal residence)                                                                58,965.00
          11. Utilities                                                                                                     16,000.00
          12. Office Expenses and Supplies                                                                                            0.00
          13. Repairs and Maintenance                                                                                                 0.00
          14. Vehicle Expenses                                                                                                        0.00
          15. Travel and Entertainment                                                                                      30,000.00
          16. Equipment Rental and Leases                                                                                        750.00
          17. Legal/Accounting/Other Professional Fees                                                                     215,682.00
          18. Insurance                                                                                                     42,567.00
          19. Employee Benefits (e.g., pension, medical, etc.)                                                              15,890.00
          20. Payments to Be Made Directly By Debtor to Secured Creditors For Pre-Petition Business Debts (Specify):

                   DESCRIPTION                                                                           TOTAL

          21. Other (Specify):

                   DESCRIPTION                                                                           TOTAL
                   Clinical trials supplies, fees & other related expenses                               5,765,000.00

          22. Total Monthly Expenses (Add items 3-21)                                                                                    $     6,385,410.00
PART D - ESTIMATED AVERAGE NET MONTHLY INCOME:
          23. AVERAGE NET MONTHLY INCOME (Subtract item 22 from item 2)                                                                  $    -6,385,410.00




Software Copyright (c) 1996-2002 Best Case Solutions, Inc. - Evanston, IL - (800) 492-8037                                                    Best Case Bankruptcy

              Case: 09-50250                       Doc# 1            Filed: 01/16/09 Entered: 01/16/09 14:22:43                         Page 81 of
                                                                                   81
